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                EXHIBIT 1
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(
    One Beacon
     HEALTHCARE            GROUP
                                                                onebeaconhc.com




    RE:    Medical Facilities Liability Coverage
           Sonic Healthcare Investments, G.P.
                                                                                                Policy

      06.26.2017        I Account No: 34379                        Policy No: MFL-004062-0617




(                                        199 Scott Swamp Road                         877.701.0171 t
                                         Farmington, CT 06032                         866.625.3590 f
                                       1                                          1
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(                                                                                       199 Scott Swa m p Road
    One Beacon                                                                         Farmi ngton , CT 06032
      H EA LTH CA RE    GROUP                                                          on eb edconhc.co111

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    Welcome to OneBeacon Healthcare Group1 M .

    Thank you for choosing a member company 1 of OneBeacon Insurance Group, Ltd. as your liability insurance
    carrier.


    At OneBeacon Healthcare Group we take a unique approach with helping policyholders manage risk and advance
    patient safety by providing them with a broad range of practical and effective tools and resources. Our industry-
    leading in-house and external consultants have decades of risk management experience. Talk with us about your
    challenges and risk exposures and we'll assist you with possible strategies and solutions.


    Risk Management Information and Support at Your Fingertips
    As an added value to a professional liability policy we are pleased to offer the following resources, many of which
    are already included in the policy's cost!


    Resources Include:
         •   Exclusive website : a policyholders-only risk management portal page with dozens of resources for all
             healthcare settings.
         •   AboutRisk® Learning Webinar Series: interactive webinars presented monthly, most with continuing
             education credits available.
         •   AboutRisk Learning Library: an extensive selection of pre-recorded educational sessions available on
             demand for risk manager, staff or leadership continuing education.
         •   AboutRisk Learning Course: unique, web-based fundamentals in healthcare risk management training
             course, with dedicated faculty support.
         •   Consultative Services: access to specialty-focused healthcare risk management professionals including
             The Rozovsky Group, The Virtual Group, Robinson+Cole, LLC and the OneBeacon Healthcare Group LTC
             Consultant Team.
         •   Electronic Assessments: custom created by OneBeacon's risk management consultants with over a
             dozen different assessments for you to choose from. These tools provide an opportunity for your
             organization to conduct a risk assessment of a specific care delivery setting, a key risk exposure or your
             own risk management program from a desktop, at your own pace, easily and effectively. Following
             completion of the risk inventory, reports are provided back to you and information on opportunities for
             improvement identified in the assessments is available.




    1
      Coverages may be underwritten by one of the following insurance companies: Atlantic Specialty Insurance Company, Homeland Insurance
    Company of New York, Homeland Insurance Company of Delaware, OBI America Insurance Company and OBI National Insurance Company.

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        •   On-site Risk Assessments: the Risk Management team can assist in coordinating an on-site risk
            assessment.
        •   Tools and Guides: OneBeacon Healthcare Group™ has created easy to read, case study-based "pocket"
            risk management guides for use by leadership and clinicians, as well as tools to help assess and address
            risk exposures.
        •   Enewsletters and Publications: monthly OneBeacon Healthcare Group Newsletter and complimentary
            access to The Rozovsky Group's Dialogues in Healthcare and TRG eNewsletter.


    As a policyholder, you can register to start accessing this material now.
        •   To register, go to https://obpi.therozovskygroup.com If you have previously registered please take
            an opportunity to update your information by re-registering so that we can send you our webinar
            invitations and Enewsletter updates. Please know we value your privacy and will never sell or otherwise
            distribute your personal information to any third party.
        •   If you have difficulty registering, please contact Joshua Rozovsky at 860.242.1302 or
            josh@therozovskygrou p. com.


    Liability Policy Coverage Questions
    If you have any questions regarding your policy or coverage afforded under your liability policy(s), please contact
    your liability insurance broker, retailer or producer. OneBeacon Healthcare Group Underwriting and Risk
    Management cannot provide direct communication with policyholders regarding specific policy language and / or
    coverage.


    Cla ims Management Support
    We realize that - despite best efforts - claims sometimes do occur. At OneBeacon Healthcare Group, an
    experienced Claims Examiner is assigned for each reported claim, and will serve as a dedicated resource and
    point of contact.


    Please refer to the OneBeacon Healthcare Group Medical Professional and General Liability Claim
    Reporting Guidelines on Page 4. If you have any questions about what to report or how to report please
    contact Maureen Ringland at MRingland@onebeacon .com.


        •   To submit a claim or incident (a "potentially compensable event "/PCE), please use the reporting form
            that can be found on onebeaconhc.com .




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    One Beacon                                                           Farmington , CT 06032
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        •   Claims can be submitted one of three ways:
            1. Secure E-mail: obiclaims@onebeacon.com. (You will receive an immediate email
            acknowledgment). * Please DO NOT send new claims reports directly to a member of the Claims
            department, use unsecured email to report or discuss claims or include any protected health information
            (PHI) or personally identifiable information (PII). Do not "cc" anyone on a claims report email.
            2. Fax: 877.256.5067
            3. U.S. Mail:
            Claims
            OneBeacon Insurance
            199 Scott Swamp Road
            Farmington, CT 06032




    Thank you again for selecting OneBeacon Healthcare Group™ as your specialists for providing professional
    liability solutions. We look forward to working with you.


(

    Patricia Hughes, MSN, CPHRM, FASHRM                     Maureen Ringland
    Senior Vice President                                   Vice President
    Healthcare Risk Management                              Healthcare Claims
    860 .321.2601                                           303-531-3810
    phug hes@onebeacon.com                                  MRingland@onebeacon.com




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    One Beacon                                                              Farmi ngton, CT 06032
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                                                                            A Member o f OneBeacon In surance Gr oup




    OneBeacon Healthcare Group™ Medical Professional and General Liability
                                           Claim Reporting Guidelines


    Following are some examples of the types of events that should be reported in accordance with the general
    conditions regarding Reporting of Claims, Occurrences and Circumstances under your professional liability policy:


        •   Medication errors resulting in injury and/or requiring further treatment (including patient not receiving
            medication; receiving incorrect dosage of medication; or receiving wrong medication)
        •   Falls resulting in injury
        •   Family/patient complaints of inadequate or negligent care resulting in injury
        •   Events reported to a state Department of Health or other state or federal regulatory body
        •   Visitor injuries
        •   Unexpected death
        •   Injury (including, but not limited to: loss of limb or function including spinal cord injury and any
            neurological impairment)
        •   Elopement
(       •   Allegations of psychological, physical or sexual abuse, neglect or violence by a patient/resident or their
            authorized representative
        •   Sentinel events and Serious Reportable Events (as defined by the Joint Commission and National Quality
            Forum)
        •   Provider licensure board or similar administrative proceeding arising from a potential medical malpractice
            claim
        •   Oral or written demands for compensation or damages
        •   Lawsuits
        •   Communication from an attorney regarding any of the events noted above
        •   Request from an attorney for medical records
        •   Any other event the policyholder reasonably believes could result in a claim under the policy


    The above list of events is not meant to be exhaustive or exclusive. Nothing contained in or omitted from this
    document should be deemed a waiver of any terms or conditions of any applicable policy. These g uidelines are
    provided for general informational purposes only and should not be considered or relied upon as coverage, legal
    or risk-management advice. Readers should consult the specific terms of their policy and their own legal counsel
    for advice.




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         U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                    ASSETS CONTROL ("OFAC")
               ADVISORY NOTICE TO POLICYHOLDERS

    No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
    policy. You should read your policy and review your Declarations page for complete information on the coverages
    you are provided.
    This Notice provides information concerning possible impact on your insurance coverage due to directives issued
    by OFAC. Please read this Notice carefully.
    The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
    declarations of "national emergency". OFAC has identified and listed numerous:
         •     Foreign agents;
         •     Front organizations;
         •     Terrorists;
         •     Terrorist organizations; and
         • Narcotics traffickers;
    as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
    Treasury's web site - http//www.treas.gov/ofac.
    In accordance with OFAC regulations, if it is determined that you or any other insured , or any person or entity
    claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
    Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
(   provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
    a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
    Other limitations on the premiums and payments also apply.




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                                                        INSURED
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 Homeland Insurance Company of New York
 1000 Woodbury Road, Suite 403
 Woodbury, NY 11797
                                                                                                One Beacon
                                                                                                  HEALTHCARE              GROUP

  (hereinafter referred to as the "Underwriter")

                                                                                            Policy Number: MFL-004062-0617

                                                                 DECLARATIONS

                             MEDICAL FACILITIES AND PROVIDERS
      PROFESSIONAL LIABILITY, GENERAL LIABILITY AND EMPLOYEE BENEFIT LIABILITY POLICY

 PORTIONS OF THIS POLICY PROVIDE CLAIMS MADE AND REPORTED COVERAGE, WHICH APPLIES
 ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY PERIOD OR AN
 APPLICABLE EXTENDED REPORTING PERIOD AND REPORTED IN ACCORDANCE WITH THIS
 POLICY'S REPORTING PROVISIONS. PLEASE READ THIS POLICY CAREFULLY.

 ITEM 1.          FIRST NAMED INSURED
                  Name and Principal Address:

 Sonic Healthcare Investments, G.P.
I 9737 Great Hills Tri Ste 100
I Austin, TX 78759-6449
 ITEM 2.         POLICY PERIOD:

 (a) Inception Date: June 30, 2017
 (b) Expiration Date: June 30, 2018
 Both dates at 12:01 a.m. at the Principal Address in ITEM 1.

 ITEM 3.          COVERAGE/TYPE/RETROACTIVE DATE(S)
                  Coverage                ll'llll                                                Retroactive Date

 A.   Healthcare Professional Liability                     Claims Made                           February 05, 2007
 B.   General Liability                                     Not Covered                           Not Covered
 C.   Employee Benefit Liability                            Claims Made                           Not Covered
 D.   Evacuation Expense                                    Expense Reimbursement                 N/A
 E.   Legal/Media Expense                                   Expense Reimbursement                 As Per Insuring Agreement (A)

 ITEM 4.          LIMIT(S) OF LIABILITY; DEDUCTIBLE/SELF-INSURED RETENTION

 A.    Healthcare Professional Liability
           Each Claim ..................................................................   $1,000,000
          ~~~furallCai= ...............................................                    $3,000,000
          Deductible[KJ Self-Insured Retention                  D
                  Per Claim .........................................................      $150,000
                  Aggregate ........................................................       N/A




 HPD-30001-03-13                                                                                                          Page 1 of 3
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B.    General Liability
         Each Claim .... .. .. ...... .. .. .. ...... .. .... ...................... ............     Not   Covered
         Products and Completed Operations Hazard..................                                   Not   Covered
         Damage to Rented Premises .........................................                          Not   Covered
         Aggregate for all Claims .. .. .. .. .... .. .. .. .... .................. ...... .          Not   Covered
         DeductibleD Self-Insured Retention D
                 Per Claim..........................................................                  Not Covered
                 Aggregate .........................................................                  Not Covered

C.    Employee Benefit Liability
         Each Claim .. .. .. .. ............................ ...... .. .. .. .. .. .. .. ..........   Not Covered
         Aggregate for all Claims ...............................................                     Not Covered
         DeductibleD Self-Insured Retention D
                Per Claim..........................................................                   Not Covered
                Aggregate ...... .. ............ ........................ ............                Not Covered

D.    Evacuation Expense
         Each Evacuation .......................................................... $25,000
         Aggregate for all Evacuations ....................................... $25,000

E.    Legal/Media Expense
         Each Legal Defense Proceeding .................................... $100,000
         Aggregate for all Legal Defense Proceeding ................... $100,000

ITEM 5.           COVERED OPERATIONS/SERVICES:

                  Medical Laboratory




ITEM 6.           PREMIUM

A.   Policy Premium: $843,640

B.   Minimum Earned Premium: 25%                             of Policy Premium shown above.

      N/A This Policy provides coverage for acts of terrorism as defined in the Terrorism Risk Insurance Act in
          accordance with all the terms and conditions of this Policy (including all endorsements attached
          hereto). The premium attributable to this coverage is - - - - - - - ~

      N/A This Policy specifically excludes coverage for acts of terrorism in accordance with all of the terms and
          conditions of this Policy (including all endorsements attached hereto).

ITEM 7.          EXTENDED REPORTING PERIOD OPTION(S):

                 36 Months             at 150%             of Full Annual Premium

              "Full Annual Premium" means the amount set forth in ITEM 6 above including any
              premium adjustments made during the Policy Period.




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ITEM 8.      ALL NOTICES REQUIRED TO BE GIVEN TO THE UNDERWRITER UNDER GENERAL
             CONDITION (C} OF THE POLICY MUST BE ADDRESSED TO:

             Claims
             OneBeacon Insurance
             199 Scott Swamp Road
             Farmington, CT 06032
             obiclaims@onebeacon.com

             ALL OTHER NOTICES REQUIRED TO BE GIVEN TO THE UNDERWRITER UNDER THIS
             POLICY MUST BE ADDRESSED TO:

             OneBeacon Healthcare Group
             199 Scott Swamp Road
             Farmington, CT 06032




ITEM 9.      POLICY FORM AND ENDORSEMENTS ATTACHED AT ISSUANCE:

HPF-30001-03-13                     Medical Facilities and Providers Professional Liability,
                                      General Liability and Employee Benefit Liability Policy
HPE-00023-03-13                     Amend Prior Knowledge Exclusion (D)(l)
HPE-00042-02-13                     Amend Cancellation to Ninety (90) Days
HPE-00063-04-11                     Additional Named Insured - Related to Original Named Insured
HPE-00064-07-11                     Notice of Cancellation to Scheduled Party
HPE-30017A-02-10                    Schedule of Insured Physicians and Locum Tenens
HPE-30028-03-13                     Deductible/Self-Insured Retention - Indemnity Only
HPE-30060-03-13                     Peer Review Coverage
HPE-30065-03-13                     HIPAA Violation Reimbursement Coverage
HPE-30103-01-13                     Delete General Liability and Employee Benefit Liability
                                      Coverages with Product Exclusion
HPE-00038-08-09                     Fronted Deductible
HPE-00098-05-17                     Physical Abuse/ Sexual Misconduct
HPE-3SONIC-0816                     Rate Stabilization
HPE-3SONIC2-0616                    Amend General Condition (E) Worldwide Territory

These Declarations, the completed signed Application, and the Policy (together with any and all endorsements
thereto) shall constitute the entire agreement between the Underwriter and the Insured(s).

Homeland Insurance Company of New York
By:


 ~~...u~~'--                                                         06.26.2017
Its Authorized Representative                                        Date:




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MEDICAL FACILITIES AND PROVIDERS
PROFESSIONAL LIABILITY, GENERAL                                          One Beacon
                                                                           HEALTHCARE            GROUP
LIABILITY AND EMPLOYEE BENEFIT
LIABILITY POLICY


 PORTIONS OF THIS POLICY PROVIDE CLAIMS MADE AND REPORTED COVERAGE, WHICH APPLIES
    ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY PERIOD OR AN
APPLICABLE EXTENDED REPORTING PERIOD AND REPORTED IN ACCORDANCE WITH THIS POLICY'S
              REPORTING PROVISIONS. PLEASE READ THIS POLICY CAREFULLY.


In consideration of the payment of the premium, and in reliance on all statements made and information
furnished to the Underwriter, and subject to all of the terms and conditions of this Policy (including all
endorsements hereto), the Underwriter and the Insured agree as follows:

I.      INSURING AGREEMENTS

(A)     Claims Made Professional Liability Insurance:

        The Underwriter will pay up to the applicable Limit of Liability shown in ITEM 4.A. of the Declarations on
        behalf of the Insured any Loss that the Insured is legally obligated to pay as a result of any covered
        Claim for a Professional Services Wrongful Act happening on or after the Retroactive Date;
        provided, that the Claim is first made against the Insured during the Policy Period or applicable
        Extended Reporting Period and reported to the Underwriter in accordance with GENERAL CONDITION (C)
        of this Policy.

(B)     Occurrence-Based General Liability Insurance:

        The Underwriter will pay up to the applicable Limit of Liability shown in ITEM 4.B. of the Declarations on
        behalf of the Insured any Loss which the Insured is legally obligated to pay as a result of a covered
        Claim alleging Bodily Injury, Property Damage, Advertising Injury or Personal Injury that is
        caused by an Occurrence that takes place during the Policy Period; provided, that the Claim is
        reported to the Underwriter in accordance with GENERAL CONDffiON (C) of this Policy.

(C)     Claims Made Employee Benefit Liability Insurance:

        The Underwriter will pay up to the Limit of Liability shown in ITEM 4.C. of the Declarations on behalf of
        the Insured any Loss that the Insured is legally obligated to pay as a result of any covered Claim for
        an Employee Benefit Wrongful Act happening on or after the Retroactive Date; provided, that the
        Claim is first made against the Insured during the Policy Period or applicable Extended Reporting
        Period and reported to the Underwriter in accordance with GENERAL CONDITION (C) of this Policy.

(D)     Evacuation Expense Reimbursement Insurance:

       Upon satisfactory proof of payment by the Named Insured, the Underwriter will reimburse the Named
       Insured up to the amount set forth in ITEM 4.D. of the Declarations for Evacuation Expenses actually
       paid by the Named Insured in connection with an Evacuation that occurs during the Policy Period;
       provided, that such Evacuation Expenses are incurred by the Named Insured no later than sixty (60)
       days after the Expiration Date or earlier cancellation date of this Policy and reported to the Underwriter in
       accordance with GENERAL CONDITION (C) of this Policy.

(E)    Legal/Media Expense Reimbursement Insurance:

       Upon satisfactory proof of payment by the Named Insured, the Underwriter will reimburse the Named
       Insured up to the amount set forth in ITEM 4.E. of the Declarations for Legal/Media Expenses

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       actually paid by the Insured in connection with a Legal Defense Proceeding first brought against the
       Insured during the Policy Period; provided, that:

       (1)     such Legal Defense Proceeding arises out of Professional Services rendered by the
               Insured on or after the Retroactive Date applicable to the Insured against whom/which such
               Legal Defense Proceeding is brought; and

       (2)     such Legal Defense Proceeding is reported to the Underwriter in accordance with GENERAL
               CONDITION (C) of this Policy.

{F)    Defense and Supplementary Payments:

       The Underwriter has the right and duty to defend any Claim that is covered by INSURING AGREEMENTS
       (A), (B), and (C) of this Policy, even if any of the allegations of such Claim are groundless, false or
       fraudulent. In addition to the Limits of Liability for INSURING AGREEMENTS (A), (B), and (C), the
       Underwriter will pay Defense Expenses and will:

       (1)     pay the premium on any bond to release attachments for an amount not in excess of the Limits
               of Liability for INSURING AGREEMENTS (A), (B), and (C) of this Policy and the premium on any
               appeal bond required in any defended suit, provided, that the Underwriter will not be obligated to
               apply for or furnish any such bond;

       (2)     pay all costs imposed against the Insured in any such suit;

       (3)     provide a legal defense and pay Defense Expenses for any arbitration, mediation or other
               alternative dispute proceeding if:

               (a)     the dispute at issue is a Claim covered by this Policy, and

              (b)      the Insured provides notice of the proceeding as required by GENERAL CONDITION (C)
                       of this Policy; and

       (4)    pay reasonable expenses, plus loss of earnings due to time off from work, incurred by an
              Insured as a result of being a defendant or co-defendant in a Claim or at the Underwriter's
              request, but not to exceed:

              (a)      $500 per day per Insured; and

              (b)      $12,500 per Claim.

II.    DEFINITIONS

(A)    "Administration" means:

       (1)    giving advice or counsel to Employees or their beneficiaries concerning their rights or interest
              with respect to Employee Benefit Programs;

       (2)    determining the eligibility of Employees to participate in Employee Benefit Programs;

       (3)    interpreting the provisions of Employee Benefit Programs;

       C4)    handling and keeping records and processing of claims in connection with Employee Benefit
              Programs; and

       (5)    effecting enrollment, termination or cancellation of Employees under Employee Benefit
              Programs.

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(Bl    "Advertisement" means a notice that is broadcast or published to the general public or specific market
       segments about the Insured's goods, products or services, for the purpose of attracting customers or
       supporters. For purposes of this Definition:

       (1)     notice that is broadcast or published includes material placed on the Internet or similar means of
               electronic communication; and

       (2)     with regard to websites, only that part of a website that is about the Insured's goods, products
               or services, for the purpose of attracting customers or supporters, will be considered an
               Advertisement.

(C)    "Advertising Injury" means injury arising out of one or more of the following offenses:

       (1)     the Insured's use of another's advertising idea in an Advertisement;

       (2)     the Insured's use of another's copyright, trade dress or slogan in an Advertisement; or

       (3)     the Insured's infringement upon another's copyright, trade dress or slogan in an
               Advertisement.

(D)   "Auto" means:

       (1)     a land motor vehicle, trailer or semitrailer designed for travel on public roads, including any
               attached machinery or equipment; or

       (2)     any other land vehicle that is subject to a compulsory or financial responsibility law or other
               motor vehicle insurance law in the state where it is licensed or principally garaged.

       Auto does not include Mobile Equipment.

(E)    "Bodily Injury" means bodily injury, sickness or disease sustained by a person, including death resulting
       from any of these at any time; mental anguish; and mental injury.

(F)    "Claim" means any written notice received by an Insured that any person or entity intends to hold an
       Insured responsible for a Wrongful Act or an Occurrence.

(G)    "Covered Contract" means any lease of premises; sidetrack agreement; elevator maintenance
       agreement; easement or license agreement; or contract or agreement specifically added as a Covered
       Contract by written endorsement to this Policy, under which the Named Insured assumes the tort
       liability of another to pay damages for Bodily Injury or Property Damage covered by this Policy that
       is sustained by others.

(H)    "Defense Expenses" means the reasonable fees of attorneys, experts and consultants and costs and
       expenses incurred in the investigation, adjustment, defense or appeal of a Claim with

       the approval or at the direction of the Underwriter; provided, that Defense Expenses shall not include:

       (1)     remuneration, salaries, overhead, fees, loss of earning reimbursement or benefit expenses of an
               Insured;

       (2)     any amounts incurred in defense of a Claim for which any other insurer has a duty to defend,
               regardless of whether such other insurer undertakes such duty; or

       (3)     any benefits under an Employee Benefit Program.



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(I)    "Employee" means any person who has an assigned work schedule for and is on the regular payroll of
       the Named Insured, with federal and state taxes withheld. Independent contractors are not
       Employees. An Employee's status as an Insured shall be determined as of the date of the
       Occurrence or Wrongful Act upon which a Claim involving the Employee is based.

(J)    "Employee Benefit Programs" means any group life insurance, group accident and health insurance,
       profit sharing plans, pension plans, Employee stock subscription plans, workers' compensation,
       unemployment insurance, social security and disability benefits insurance or any other similar plan under
       the Administration of the Named Insured for the benefit of its Employees.

(K)    "Employee Benefit Wrongful Act" means any actual or alleged act, error or omission, or series of
       acts, errors or omissions, by an Insured in the Administration of an Employee Benefit Program.

(L)    "Employment Practices" means any of the following: breach of any employment contract; failure or
       refusal to hire or employ; dismissal, discharge, reduction in force, downsizing or termination of
       employment, whether actual or constructive; demotion, reassignment, failure or refusal to promote, or
       deprivation of career opportunity; discipline of Employees; evaluation of Employees; discrimination or
       harassment of any kind or on any basis including, but not limited to, discrimination, limitation,
       segregation or classification based on race, sex, marital status, ancestry, physical or mental handicaps,
       age, sexual preference, pregnancy or religion or other status that is protected under any applicable
       federal, state or local statute or ordinance affecting any present or former Employee or applicant for
       employment; humiliation or defamation of any present or former Employee or applicant for
       employment; retaliatory treatment against an Employee arising out of the Employee's attempted or
       actual exercise of the Employee's rights under the law; employment-related misrepresentations; or
       failure to implement appropriate workplace or employment policies or procedures.

(M)    "Evacuation" means the removal from one or more of the Named Insured's facilities to any other
       location of fifteen (15) or more patients or residents in such facility(ies) as a result of any natural or man-
       made occurrence that, in the reasonable judgment of the Named Insured's management, causes or
       could potentially cause such facility(ies) to be unsafe for such patients or residents.

(N)    "Evacuation Expenses" means reasonable costs incurred by the Named Insured in connection with
       an Evacuation, including costs associated with transporting, lodging and providing meals to patients or
       residents who have been evacuated. Evacuation Expenses shall not include any remuneration,
       salaries, overhead or benefit expenses of the Named Insured.

(0)    "First Named Insured" means the entity designated as such in ITEM 1 of the Declarations.

(P)    "Good Samaritan Acts" means emergency medical treatment provided by an Insured, without
       remuneration, at the scene of an accident, medical crisis or disaster.

(Q)    "Hostile Fire" means a fire which becomes uncontrollable or breaks out from where it was intended to
       be contained; provided, that Hostile Fire does not include any fire that originates at any site operating
       as a waste disposal facility or waste storage facility.

(R)   "Impaired Property" means tangible property, other than Insured Product or Insured Work, that
       cannot be used or is not useful because:

       (1)     it incorporates Insured Product or Insured Work that is known or thought to be defective,
               deficient, inadequate or dangerous; or

       (2)     the Named Insured has failed to fulfill the terms of any contract or agreement.

(S)   "Insured" means any of the following:

       (1)     the Named Insured;


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       (2)     any Employee or Volunteer, but only when such Employee or Volunteer is acting within the
               capacity and scope of his or her duties as such;

       (3)     the Named Insured's medical directors, department heads, or chiefs of staff, but only while
               acting within the scope and capacity of their duties as such for the Named Insured;

       ( 4)    any member of a duly authorized board or committee of the Named Insured;

       (5)     solely with respect to and limited to coverage afforded under INSURING AGREEMENT (A), the
               lawful spouses of individual Insureds and, in the event of the death, incapacity, or bankruptcy
               of an individual Insured, the estates, heirs, legal representatives or assigns of such individual
               Insured;

       (6)     any person enrolled as a student in a formal training program offered by the Named Insured,
               but only when such person is acting within the capacity and scope of his or her duties as such;

       (7)     any person hired or retained by the Named Insured to provide language interpretation services
               in connection with the provision of Medical Services;

       (8)     any member or partner of a joint venture or partnership specifically listed as a Named Insured
               in Schedule A to this Policy, but only with respect to such member or partner's liability arising out
               of such joint venture or partnership;

       (9)     any member of a Named Insured that is a limited liability company, but only when named in a
               Claim by reason of such member's ownership interest in such Named Insured and only to the
               extent of such ownership interest; and

       (10)    any driver or operator of Mobile Equipment, but only when operating Mobile Equipment at
               the direction and with the permission of the Named Insured;

       provided, that Insured shall not include any person who is an intern, resident, physician, surgeon,
       dentist, psychiatrist, nurse anesthetist, nurse midwife, podiatrist or chiropractor while rendering Medical
       Services, whether such person is an Employee, Volunteer or student.

(T)   "Insured Product" means:

       (1)     any goods or products, other than real property, manufactured, sold, handled, distributed or
               disposed of by:

               (a)     the Named Insured;

               (b)     others trading under the name of the Named Insured; or

               (c)     a person or an organization whose business or assets the Named Insured has
                       acquired; and

       (2)     containers (other than vehicles), materials, parts or equipment furnished in connection with such
               goods or products. Insured Product includes:

               (a)     warranties or representations made at any time with respect to the fitness, quality,
                       durability, performance or use of the Insured Product; and

               (b)     the providing of or failure to provide warnings or instructions.

      Insured Product does not include vending machines or other property rented to, or located for the use

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       of, others but not sold.

(UJ    "Insured Work" means:

       (lJ     work or operations performed by the Named Insured or on the Named Insured's behalf; and

       (2J     materials, parts or equipment furnished in connection with such work or operations. Insured
               Work includes:

               (aJ      warranties or representations made at any time with respect to the fitness, quality,
                        durability, performance or use of the Insured Work; and

               (bJ      the providing of or failure to provide warnings or instructions.

(VJ    "Legal Defense Proceeding" means: (lJ a hearing or disciplinary action against an Insured before a
       state or other licensing board or governmental regulatory body; (2J a civil or criminal proceeding in which
       the Insured is not a defendant but has been ordered to offer deposition testimony regarding treatment
       rendered to a Patient; or (3J a civil or criminal proceeding in which the Insured is not a party but has
       received a subpoena for record production regarding treatment rendered to a Patient.

(WJ    "Legal/Media Expenses" means reasonable fees and costs of attorneys, experts and consultants
       incurred by the Insured in the investigation and defense of a Legal Defense Proceeding.
       Legal/Media Expenses also include reasonable costs incurred by the Insured in the management of
       public relations with respect to a Legal Defense Proceeding, including reasonable fees and costs of
       third-party media consultants. Legal/Media Expenses shall not include any remuneration, salaries,
       overhead, fees, loss of earning reimbursement or benefit expenses of an Insured.

(XJ    "Loss" means:

       (lJ     for the purposes of INSURING AGREEMENTS (AJ, (BJ and (CJ, any damages, settlements,
               judgments or other amounts (including punitive or exemplary damages if insurable under the
               applicable law most favorable to the insurability thereof) in excess of the applicable deductible or
               self-insured retention, if any, stated in ITEM 4 of the Declarations which an Insured is legally
               obligated to pay as a result of a Claim;

       (2J     for the purposes of INSURING AGREEMENT (D), Evacuation Expenses;

       (3J     for the purposes of INSURING AGREEMENT (EJ, Legal/Media Expenses.

       Loss shall not include:

       (aJ     Defense Expenses;

       (b J    the multiple portion of any multiplied damage award;

       (cJ     fines, penalties, sanctions, fees, government payments or taxes;

       ( dJ    amounts owed to any provider of Medical Services under any contract;

       (eJ     restitution, return or disgorgement of fees, profits, charges for products or services rendered,
               capitation payments, premium or any other funds allegedly wrongfully held or obtained;

       (f)     benefits under an Employee Benefit Program;

       (gJ     relief or redress in any form other than monetary compensation or monetary damages, including
               without limitation the cost of complying with any injunctive, declaratory or administrative relief;

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        (h)    the payment, satisfaction or writing off of any medical bills or charges by an Insured; or

        (i)    matters which are uninsurable under applicable law.

(Y)    "Managed Care Services" means services or activities performed in the administration or management
       of health care plans; advertising, marketing or selling health care plans or health care products; handling,
       investigating or adjusting claims for benefits or coverages under health care plans; or establishing health
       care provider networks.

(Z)    "Medical Services" means health care, medical care, or treatment provided to any individual, including
       without limitation any of the following: medical, surgical, dental, psychiatric, mental health, chiropractic,
       osteopathic, nursing, or other professional health care; the furnishing or dispensing of medications,
       drugs, blood, blood products, or medical, surgical, dental, or psychiatric supplies, equipment, or
       appliances in connection with such care; the furnishing of food or beverages in connection with such
       care; the providing of counseling or other social services in connection with such care; and the handling
       of, or the performance of post-mortem examinations on, human bodies.

(AA)   "Mobile Equipment" means any of the following types of land vehicles, including any attached
       machinery or equipment:

       (1)     bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public
               roads;

       (2)     vehicles maintained for use solely on or next to premises owned or rented by an Insured;

       (3)     vehicles that travel on crawler treads;

       ( 4)    vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently
               mounted:

               (a)      power cranes, shovels, loaders, diggers or drills, or

               (b)      road construction or resurfacing equipment such as graders, scrapers or rollers;

       (5)     vehicles not described in clauses (1)-(4) above that are not self-propelled and are maintained
               primarily to provide mobility to permanently attached equipment of the following types:

               (a)    air compressors, pumps and generators, including spraying, welding, building cleaning,
                      geophysical exploration, lighting and well servicing equipment; or

               (b)    cherry pickers and similar devices used to raise or lower workers; and

       (6)     vehicles not described in clauses (1)-(4) above maintained primarily for purposes other than the
               transportation of persons or cargos.

       Mobile Equipment does not include:

       (i)     self-propelled vehicles with the following types of permanently attached equipment:

               (aa)    equipment designed primarily for:

                      (AA)     snow removal;

                      (BB)     road maintenance but not construction or resurfacing; or



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                        (CC)    street cleaning;

                (bb)     cherry pickers and similar devices mounted on automobile or truck chassis and used to
                         raise or lower workers; and

                (cc)     air compressors, pumps and generators, including spraying, welding, building cleaning,
                         geophysical exploration, lighting and well servicing equipment; or

        (ii)    any land vehicles that are subject to a compulsory or financial responsibility law or other motor
                vehicle insurance law in the state where it is licensed or principally garaged.

(BB)   "Mold" means mold, mildew, spores, mycotoxins, fungi, organic pathogens or other micro organisms of
        any type, nature or description whatsoever.

(CC)   "Named Insured" means the First Named Insured and each other entity listed as a Named Insured
        in Schedule A to this Policy.

(DD)   "Occurrence" means:

        (1)     with respect to Bodily Injury or Property Damage, an accident, including continuous or
                repeated exposure to substantially the same harmful conditions, which results in injury or
                damage neither expected nor intended by the Insured; and

        (2)     with respect to Advertising Injury or Personal Injury, a covered offense as set forth in
                DEFINCT10NS (C) or DEFINITIONS (FF) of this Policy.

(EE)   "Patient" means any person or human body admitted or registered to receive Medical Services from
       an Insured, whether on an inpatient, outpatient or emergency basis.

(FF)   "Personal Injury" means injury, other than Bodily Injury, arising out of one or more of the following
        offenses:

       (1)      false arrest, detention or imprisonment;

       (2)      malicious prosecution;

        (3)     the wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a
                room, dwelling or premises that a person occupies by or on behalf of its owner, landlord or
                lessor;

       ( 4)     oral or written publication of material that slanders or libels a person or an organization or
                disparages a person's or an organization's goods, products or services; or

       (5)      oral or written publication of material that violates a person's right of privacy.

(GG)   "Personally Identifiable Health Information" means a natural person's name used in combination
       with his/her confidential health care or other medical information, including "protected health
       information" as defined in the Health Insurance Portability and Accountability Act of 1996, as amended,
       and any rules or regulations promulgated thereunder. Personally Identifiable Health Information
       does not include information that is lawfully available to the general public, including but not limited to
       information from any federal, state or local governmental or regulatory agency or entity.

(HH)   "Policy Period" means the period from the Inception Date of this Policy stated in ITEM 2(a) of the
       Declarations to the Expiration Date of this Policy stated in ITEM 2(b) of the Declarations or to any earlier
       cancellation date of this Policy.



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(II)   "Pollutant" means smoke, vapors, soot, fumes, acids, alkalis, toxic chemicals, liquids or gases, medical
        waste, waste materials (including materials which are intended to be or have been recycled,
        reconditioned or reclaimed) or other irritants, pollutants or contaminants. Pollutant does not include
        smoke, fumes, vapor or soot emanating from equipment used to heat or cool a building owned or
        operated by the Named Insured.

(JJ)   "Products and Completed Operations Hazard" means Bodily Injury and Property Damage
       occurring away from premises owned or rented by the Insured and arising out of Insured Product or
       Insured Work, except:

       (1)      products that are still in the Insured's physical possession; and

        (2)     work that has not yet been completed or abandoned; provided that work will be deemed
                completed at the earliest of the following times:

                (a)      when that part of the work done at a job site has been put to its intended use by any
                         person or organization other than another contractor or subcontractor working on the
                         same project;

                (b)      when all of the work called for in the Insured's contract has been completed; or

                (c)      when all of the work to be done at the job site has been completed if the Insured's
                         contract calls for work at more than one job site.

               Work that may need service, maintenance, correction, repair or replacement, but which is
               otherwise complete, will be treated as completed work.

       Products and Completed Operations Hazard does not include Bodily Injury or Property Damage
       arising out of:

       (i)     the transportation of property, unless the injury or damage arises out of a condition in or on a
               vehicle not owned or operated by the Insured, and that condition was created by the loading or
               unloading of that vehicle by an Insured; or

       (ii)    the existence of tools, uninstalled equipment, or abandoned or unused materials.

(KK)   "Professional Services" means:

       (1)     Medical Services in connection with the Covered Operations/Services set forth in ITEM 5 of the
               Declarations;

       (2)     Good Samaritan Acts;

       (3)     the activities of an Insured as a member of a board or committee of the Named Insured, or
               as a member of any committee of the medical or professional staff of the Named Insured,
               when engaged in Utilization Review;

       ( 4)    the activities of an Insured as a member of a formal accreditation, standards review or similar
               professional board or committee, including executing the directives of such board or committee;
               or

       (5)     reviewing the quality of Medical Services or providing quality assurance on behalf of the
               Named Insured.

(LL)   "Professional Services Wrongful Act" means:



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        (1)     any actual or alleged act, error or omission, or series of acts, errors or omissions, by an Insured
                in rendering, or failing to render, Professional Services;

        (2)     any actual or alleged act, error or omission, or series of acts, errors or omissions, by any person
                other than an Insured in rendering, or failing to render, Medical Services, but only for an
                Insured's vicarious liability with regard to such Medical Services. In no event shall this Policy
                provide coverage for the direct liability of any person other than an Insured for the rendering of,
                or failure to render, Medical Services; or

        (3)     any inadvertent:

                (a)     publication of Personally Identifiable Health Information; or

                (b)     utterance of confidential health care or other medical information,

               of a Patient by an Insured while providing Medical Services to such Patient.

(MM)   "Property Damage" means:

       (1)     physical injury to tangible property, including all resulting loss of use of that property; provided,
               that such loss of use shall be deemed to have occurred at the time of the physical injury that
               caused it; or

       (2)     loss of use of tangible property that is not physically injured; provided, that such loss of use shall
               be deemed to occur at the time of the Occurrence that caused it. Property Damage shall not
               include loss of use of tangible property that results from any actual or alleged theft.

(NN)   "Related Claims" means all Claims based upon, arising out of, directly or indirectly resulting from, in
       consequence of, in any way involving, or in any way having a common nexus of the same or related
       facts, circumstances, situations, transactions, or events, or the same or related series of facts,
       circumstances, situations, transactions or events.

(00)   "Retroactive Date" means the applicable date(s) set forth in ITEM 3 of the Declarations.

(PP)   "Utilization Review" means the process of evaluating the appropriateness or necessity of Medical
       Services provided or to be provided by an Insured. Utilization Review shall include prospective
       review of proposed Medical Services, concurrent review of ongoing Medical Services, and
       retrospective review of already rendered Medical Services. Utilization Review does not include
       services or activities performed in the administration or management of health care plans.

(QQ)   "Volunteer" means a person who provides his or her services or labor to the Named Insured, and
       whose activities are supervised and directed by the Named Insured, but who is not compensated for
       such services and labor. No Employee or physician shall be considered a Volunteer.

(RR)   "Wrongful Act" means any Professional Services Wrongful Act or Employee Benefit Wrongful
       Act.


III.   EXCLUSIONS

{A)    Exclusions Applicable to INSURING AGREEMENT {A):

       In addition to the EXCLUSIONS listed under (DJ below, no coverage will be available under INSURING
       AGREEMENT (A), and the Underwriter will not pay any Loss or Defense Expenses, for any Claim
       based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving
       any actual or alleged:

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       (1)     Professional Seivices Wrongful Act that happened before the Retroactive Date;

       (2)     Bodily Injury or Property Damage, except to the extent such Claim arises out of a
               Professional Seivices Wrongful Act;

       (3)     Advertising Injury or Personal Injury, except to the extent that such injury relates to the
               rendering of, or failure to render, Professional Seivices;

       (4)     Employee Benefit Wrongful Act;

       (5)     rendering of, or failure to render, Medical Seivices by any Insured or any person for whom an
               Insured is vicariously liable:

               (a)      while the Insured's or such person's license to practice is or was not active;

               (b)      in violation of any restriction imposed or placed upon the Insured's or such person's
                        license; or

               (c)      if such Medical Seivices fall outside the scope of the Insured's or such person's
                        license;

       (6)     rendering of, or failure to render, Medical Seivices by any person other than an Insured;
               except this EXCLUSION (A)(6) will not apply to an Insured's vicarious liability with regard to
               such Medical Seivices; or

       (7)     treatment of any Patient with any drug, medical device, or biologic or radiation-emitting product
               not approved by the U.S. Food and Drug Administration.

(B)    Exclusions Applicable to INSURING AGREEMENT (B):

       In addition to the EXCLUSIONS listed under (D) below, no coverage will be available under INSURING
       AGREEMENT (B), and the Underwriter will not pay any Loss or Defense Expenses, for any Claim
       based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving
       any actual or alleged:

       (1)     Occurrence that happened before the Inception Date set forth in ITEM 2 of the Declarations;

       (2)     Professional Seivices Wrongful Act;

       (3)     injury to a Patient; except this EXCLUSION (8)(3) shall not apply to any Claim based upon,
               arising out of, directly or indirectly resulting from, in consequence of, or in any way involving: fire
               or lightning; windstorm or hail; explosion; riot, including riot attending a strike or civil
               commotion; smoke; vandalism or malicious mischief; sprinkler leakage; elevator malfunction;
               earthquake or flood; or structural collapse of a building;

       ( 4)    Bodily Injury, Property Damage, Personal Injury or Advertising Injury expected or
               intended from the standpoint of any Insured; except for Bodily Injury resulting from use of
               reasonable force to protect persons or property;

       (5)     Personal Injury or Advertising Injury arising out of oral or written publication of material:

               (a)     if done by or at the direction of an Insured with knowledge of its falsity; or

               (b)     whose first publication took place before the Inception Date set forth in ITEM 2 of the
                       Declarations;


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       (6)    Advertising Injury arising out of any false, incorrect or misleading description of the price of
              goods, products or services;

       (7)    Employee Benefit Wrongful Act;

       (8)    Bodily Injury or Property Damage for which an Insured is or may be held liable by reason
              of:

              (a)     causing or contributing to the intoxication of any person;

              (b)     the furnishing of alcoholic beverages to a person under the legal drinking age or under
                      the influence of alcohol; or

              (c)     any statute, ordinance or regulation relating to the sale, gift, distribution or use of
                      alcoholic beverages;

              except this EXCLUSION (B)(S) will not apply if the Insured is not in the business of
              manufacturing, selling or distributing alcoholic beverages;

       (9)    Bodily Injury or Property Damage arising out of:

              (a)     the transportation of Mobile Equipment by, in or on an Auto owned or operated by, or
                      rented or loaned to, any Insured; or

              (b)     the use of Mobile Equipment in, or while in practice or preparation for, any
                      prearranged racing, speed, demoliti@ or stunt activity;

       (10)   Bodily Injury or Property Damage arising from any consequence, direct or indirect, of war,
              invasion, hostilities (whether war be declared or not), civil war, rebellion, revolution, insurrection,
              military or usurped power, strike, riot or civil insurrection;

       (11)   Property Damage to:

              (a)     property the Insured owns, rents or occupies;

              (b)     premises sold, given away or abandoned by the Named Insured, if the Property
                      Damage arises out of any part of those premises;

              (c)     property loaned to the Insured;

              (d)     personal property in the care, custody or control of the Insured;

              (e)     that particular part of real property on which the Insured, or any contractor or
                      subcontractor working directly or indirectly on the Insured's behalf, is performing
                      operations, if the Property Damage arises out of those operations;

              (f)     that particular part of any property that must be restored, repaired or replaced because
                      the Insured's Work was incorrectly, poorly or improperly performed on it; or

              (g)     property which is being transported by the Insured by automobile, Mobile Equipment
                      or team, including the loading and unloading thereof;

              EXCLUSION (B)(ll)(a) above does not apply to any Claim for Property Damage resulting from
              any fire caused by the Insured's negligence and occurring on premises rented by the Insured
              or temporarily occupied by the Insured with the permission of the owner of such premises, up

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              to the "Damage to Rented Premises" Limit of Liability set forth in ITEM 4.B. of the Declarations;

              EXCLUSIONS (B)(ll)(a), (c) and (d) above do not apply to any Claim for Property Damage
              (other than damage caused by fire) to premises, including the contents of such premises, rented
              to the Insured for a period of seven (7) or fewer consecutive days, up to the "Damage to
              Rented Premises" Limit of Liability set forth in ITEM 4.B. of the Declarations.

              EXCLUSION (B)(ll)(b) above does not apply if the premises are Insured Work and were never
              occupied, rented or held for rental by the Named Insured;

              EXCLUSIONS (B)(ll)(c), (d), (e), and (f) above do not apply to liability assumed under a
              sidetrack agreement; and

              EXCLUSION (B)(ll)(f) above does not apply to Property Damage included in the Products
              and Completed Operations Hazard;

       (12)   Property Damage to the Insured Product arising out of it or any part of it;

       (13)   Property Damage to Insured Work arising out of it or any part of it and included in the
              Products and Completed Operations Hazard; except if the damaged work or the work out
              of which the damage arises was performed on behalf of the Named Insured by a
              subcontractor;

       (14)   Property Damage to Impaired Property or property that has not been physically injured,
              arising out of:

              (a)     defect, deficiency, inadequacy or dangerous condition in Insured Product or Insured
                      Work; or

              (b)     a delay or failure by an Insured or anyone acting on the Named Insured's behalf to
                      perform a contract or an agreement in accordance with its terms; except this EXCLUSION
                      (B)(14)(b) does not apply to the loss of use of other property arising out of sudden and
                      accidental physical injury to Insured Product or Insured Work after it has been put
                      to its intended use;

       (15)   damages claimed for any loss, cost or expense incurred by the Named Insured or others for
              the loss of use, withdrawal, recall, inspection, repair, replacement, adjustment, removal or
              disposal of:

              (a)     Insured Product;

              (b)     Insured Work; or

              (c)     Impaired Property, if such product, work or property is withdrawn or recalled from the
                      market or from use by any person or organization because of a known or suspected
                      defect, deficiency, inadequacy or dangerous condition in it;

       (16)   injury or damage arising in whole or in part, either directly or indirectly, out of asbestos,
              regardless whether the asbestos is:

              (a)     airborne as a fiber or particle;

              (b)     contained in a product;

              (c)     carried or transmitted on clothing or by any other means; or



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               (d)     contained in or a part of:

                        (i)     any building;

                        (ii)    any building material;

                       (iii)    any insulation product; or

                       (iv)     any component part of any building, building material or insulation product;

       (17)    (a)     exposure to, or the manifestation, release, dispersal, seepage, migration, discharge,
                       appearance, presence, reproduction or growth of, Mold;

               (b)     fee, cost, expense or charge to test, monitor, clean up, remediate, mitigate, remove,
                       contain, treat, detoxify, neutralize, rehabilitate, or in any other way respond to or assess
                       the effect(s) of Mold; or

               (c)     fee, cost, expense, charge, fine or penalty incurred, sustained or imposed by order,
                       direction, request or agreement of any court, governmental agency, regulatory body or
                       civil, public or military authority in connection with or in any way relating to Mold;

       (18)    (a)       exposure to, or generation, storage, manifestation, transportation, discharge, emission,
                         release, dispersal, seepage, migration, escape, appearance, presence, reproduction,
                         growth of, treatment, removal or disposal of, any Pollutant, including any threat
                         thereof, except where such exposure, generation, storage, manifestation,
                         transportation, discharge, emission, release, dispersal, seepage, migration, escape,
                         appearance, presence, reproduction, growth, treatment, removal or disposal was caused
                         by an unintentional fire or any heat, smoke or fumes issuing from such unintentional
                         fire;

               (b)       fee, cost, expense or charge to test, monitor, clean up, remediate, mitigate, remove,
                         contain, treat, detoxify, neutralize or rehabilitate any Pollutant; or

               (c)       fee, cost, expense, charge, fine or penalty incurred, sustained or imposed by order,
                         direction, request or agreement of any court, governmental agency, regulatory body or
                         civil, public or military authority in connection with or in any way relating to any
                         Pollutant;

               except this EXCLUSION (B)(18) will not apply to any Claim for Bodily Injury or Property
               Damage caused by heat, smoke or fumes from a Hostile Fire;

       (19)    nuclear reaction, nuclear radiation, radioactive contamination, or radioactive substance; or

       (20)    violation of the Telephone Consumer Protection Act, the CAN-SPAM Act of 2003, the Fair Credit
               Reporting Act, the Fair and Accurate Credit Transaction Act, all as may be amended, or any other
               federal, state or local statutory or common law that addresses, prohibits, or limits the printing,
               dissemination, disposal, collecting, recording, sending, transmitting, communicating or
               distribution of material or information, or any rules or regulations promulgated thereunder.

{C)    Exclusions Applicable to INSURING AGREEMENT {C):

       In addition to the Exclusions listed in EXCLUSION (D) below, no coverage will be available under
       INSURING AGREEMENT (C), and the Underwriter will not pay any Loss or Defense Expenses, for any
       Claim based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way
       involving any actual or alleged:



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       (1)     Employee Benefit Wrongful Act that happened before the Retroactive Date;

       (2)     Advertising Injury, Bodily Injury, Personal Injury or Property Damage;

       (3)     failure of performance by any insurer;

       ( 4)    failure of securities or other investments to perform as represented or advice given to an
               Employee to participate or not to participate in stock subscription or other benefit programs;
               provided, that for purposes of this EXCLUSION (C)( 4), "security" means a security of any nature
               whatsoever including, without limitation, stocks, shares, bonds, debentures, options, derivatives,
               partnership interests, limited liability company interests, any other form of debt or equity
               instrument and any other forms of ownership interest;

       (5)     insufficiency of funds to meet any obligations of Employee Benefit Programs; or

       (6)     Professional Services Wrongful Act.

(D)    Exclusions Applicable to All INSURING AGREEMENTS:

       Except as otherwise expressly provided in this Policy, this Policy does not apply to, and the Underwriter
       will not pay Loss or Defense Expenses, for any Claim based upon, arising out of, directly or indirectly
       resulting from, in consequence of, or in any way involving any actual or alleged:

       (1)     act, error, omission or Wrongful Act if any Insured, on or before the Inception Date set forth
               in ITEM 2 of the Declarations, knew or reasonably could have foreseen that such act, error,
               omission or Wrongful Act might result in a Claim.

               If, however, this Policy is a renewal of one or more policies previously issued by the Underwriter
               to the First Named Insured, and the coverage provided by the Underwriter to the First Named
               Insured was in effect, without interruption, for the entire time between the inception date of the
               first such other policy and the Inception Date of this Policy, the reference in this EXCLUSION
               (D)(l) to the Inception Date will be deemed to refer instead to the inception date of the first
               policy under which the Underwriter began to provide the First Named Insured with the
               continuous and uninterrupted coverage of which this Policy is a renewal;

       (2)     act, error, omission, Wrongful Act, event, suit or demand which was the subject of any notice
               given under:

               (a)     any medical professional liability or similar policy of insurance or plan or program of self-
                       insurance, with respect to any Claim otherwise covered under INSURING AGREEMENT
                       (A);

              (b)      any general liability or similar policy of insurance or plan or program of self-insurance,
                       with respect to any Claim otherwise covered under INSURING AGREEMENT (BJ; or

              (c)      any employee benefit liability or similar policy of insurance or plan or program of self-
                       insurance, with respect to any Claim otherwise covered under INSURING AGREEMENT
                       (C);

              in effect prior to the Inception Date set forth in ITEM 2 of the Declarations;

       (3)    violation of any federal, state or local antitrust, restraint of trade, unfair competition, or price-
              fixing law, or any rules or regulations promulgated thereunder, or any involvement in any
              agreement or conspiracy to restrain trade, except for any Claim otherwise covered under
              INSURING AGREEMENT (A) arising out of the rendering of, or failure to render, Medical
              Services;

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       ( 4)   dishonest, fraudulent, criminal or intentionally malicious act, error or omission by an Insured;
              any willful violation of law, statute, rule or regulation by an Insured; or the gaining of any profit,
              remuneration or advantage by an Insured to which such Insured was not legally entitled,
              including, but not limited to, health care fraud; provided, however, that no such act of one
              Insured will be imputed to any other Insured who was not aware of and did not participate in
              such act;

       (5)    Bodily Injury or Property Damage arising out of the ownership, maintenance, use, operation
              or entrustment to others of any aircraft, Auto or watercraft or the loading or unloading thereof;
              except this EXCLUSION (D)(S) will not apply to any Claim for a Professional Services
              Wrongful Act in connection with the loading or unloading of any Patient from any aircraft or
              Auto;

       (6)    obligation of an Insured pursuant to any workers' compensation, unemployment compensation,
              disability benefits or similar law;

       (7)    obligation which an Insured has assumed under a written or oral contract or agreement; except
              this EXCLUSION (D)(7) will not apply to:

              (a)     liability an Insured would have had in the absence of such contract or agreement; or

              (b)     liability assumed by the Named Insured under a Covered Contract;

       (8)    Claim made by or for the benefit of, or in the name or right of, one current or former Insured
              against another current or former Insured; except this EXCLUSION (D)(S) will not apply to any
              Claim for:

              (a)     the rendering of, or failure to render, Medical Services otherwise covered under
                      INSURING AGREEMENT (A) of this Policy; or

              (b)     any Employee Benefit Wrongful Act otherwise covered under INSURING AGREEMENT
                      (C) of this Policy;

       (9)    discrimination of any kind on any basis, including, but not limited to, discrimination, limitation,
              segregation or classification based on race, sex, marital status, ancestry, physical or mental
              handicaps, age, sexual preference, pregnancy, religion or other status that is protected under
              any applicable federal, state or local statute or ordinance, including any discrimination in the
              rendering of, or failure to render, Professional Services;

       (10)   Employment Practices;

       (11)   liability of any "Acquired Entity" described in GENERAL CONDITION (F) or its individual Insureds
              acting in their capacity as such for any Claim, Occurrence, fact, circumstance, situation,
              transaction, event or Wrongful Act or series of Claims, Occurrences, facts, circumstances,
              situations, transactions, events or Wrongful Acts happening before the date such entity became
              an "Acquired Entity;"

       (12)   (a)     unauthorized, unlawful, or unintentional taking, obtaining, accessing, using, disclosing,
                      distributing, disseminating, transmitting, gathering, collecting, acquiring, corrupting,
                      damaging, destroying, deleting, or impairing of any information or data of any kind,
                      including but not limited to any health care or other medical information or Personally
                      Identifiable Health Information; provided, that this EXCLUSION (D)(12)(a) shall not
                      apply to any Claim for a Professional Services Wrongful Act as defined in
                      DEFINTION (LL)(3);



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               (b)     failure or inability of any computer, computer component (including but not limited to
                       any hardware, network, terminal device, data storage device, input and output device, or
                       back up facility), application, program, software, code, or script of any kind (a "System")
                       to perform or function as planned or intended, including but not limited to any failure or
                       inability of any System to prevent any hack, virus, contaminant, worm, trojan horse, logic
                       bomb, or unauthorized or unintended accessing or use involving any System; or

               (c)     creation, development, design, manufacture, programming, leasing, licensing,
                       distribution, assembly, installation, alteration, modification, or sale of any computer,
                       computer component (including but not limited to any hardware, network, terminal
                       device, data storage device, input and output device, or back up facility), application,
                       program, software, code, script, or data of any kind;

       (13)    liability of any individual or entity acting as an independent contractor for an Insured; except
               this EXCLUSION (D)(13) will not apply to any Claim otherwise covered under INSURING
               AGREEMENT (A) for the Insured's vicarious liability with regard to such independent contractor;

       (14)    infringement of any right of patent, service mark, trademark, copyright, title or slogan; except
               this EXCLUSION (D)(l 4) will not apply to liability of an Insured for infringement of copyright,
               trade dress or slogan in an Advertisement;

       (15)    liability of any Insured for Managed Care Services; except this EXCLUSION (D)(15) will not
               apply to liability of an Insured for Professional Services;

       (16)    evaluation of any provider of Medical Services by an Insured for purposes of selecting,
               employing, contracting with or credentialing such provider of Medical Services, if such Claim is
               made by or on behalf of any such provider of Medical Services;

       (17)    Claim made by or on behalf of any federal, state or local governmental or regulatory agency or
               entity, including but not limited to any Claim alleging health care fraud and abuse or violation of
               the Health Insurance Portability and Accountability Act of 1996 or the Health Information
               Technology for Economic and Clinical Health Act, all as may be amended, or any rules or
               regulations promulgated thereunder; or

       (18)   violation of the Employee Retirement Income Security Act of 1974 (ERISA), the Fair Labor
              Standards Act (except the Equal Pay Act), the National Labor Relations Act, the Worker
              Adjustment and Retraining Notification Act, the Consolidated Omnibus Budget Reconciliation Act,
              the Occupational Safety and Health Act, all as may be amended, or any similar federal, state or
              local statutory or common law, or any rules or regulations promulgated thereunder; except this
              EXCLUSION (D)(18) will not apply to any Claim arising out of the rendering of, or failure to
              render, Medical Services, which is otherwise covered under INSURING AGREEMENT (A) of this
              Policy and for which reimbursement for such services was received from health care plans
              covered by such statutes, rules or regulations.


IV.    GENERAL CONDITIONS

(A)    Limits of Liability

       (1)    Insuring Agreement (A) - Professional Liability

              (a)     The "Each Claim" amount stated in ITEM 4.A. of the Declarations will be the
                      Underwriter's maximum Limit of Liability for all Loss resulting from each Claim or
                      Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                       (A).


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              (b)     The "Aggregate for all Claims" amount stated in ITEM 4.A. of the Declarations will be the
                      Underwriter's maximum Limit of Liability for all Loss resulting from all Claims or
                      Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                      (A).

       (2)    Insuring Agreement (B) - General Liability

              (a)     The "Each Claim" amount stated in ITEM 4.B. of the Declarations will be the
                      Underwriter's maximum Limit of Liability for all Loss resulting from each Claim or
                      Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                      (B).

              (b)     The Underwriter's Limits of Liability for Claims alleging Bodily Injury or Property
                      Damage included in the Products and Completed Operations Hazard shall be equal
                      to, part of, and not in addition to, the "Each Claim" and "Aggregate for all Claims"
                      amounts stated in ITEM 4. B. of the Declarations.

              (c)     The "Damage to Rented Premises" amount stated in ITEM 4.B. of the Declarations will be
                      the Underwriter's maximum aggregate Limit of Liability for all (i) Claims for Property
                      Damage resulting from any and all fires caused by the Insured's negligence and
                      occurring on premises rented to the Insured or temporarily occupied by the Insured
                      with the permission of the owner of such premises and (ii) Claims for Property
                      Damage (other than damage caused by fire) to premises, including the contents of such
                      premises, rented to the Insured for a period of seven (7) or fewer consecutive days.
                      Such amount shall be part of, and not in addition to, the "Aggregate for all Claims"
                      amount stated in ITEM 4.B. of the Declarations.

              (d)     The "Aggregate for all Claims" amount stated in ITEM 4.B. of the Declarations will be the
                      Underwriter's maximum Limit of Liability for all Loss resulting from all Claims or
                      Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                      (B).

       (3)    Insuring Agreement (C) - Employee Benefit Liability

              (a)    The "Each Claim" amount stated in ITEM 4.C. of the Declarations will be the
                     Underwriter's maximum Limit of Liability for all Loss resulting from each Claim or
                     Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                      (C).

              (b)    The "Aggregate for all Claims" amount stated in ITEM 4.C. of the Declarations will be the
                     Underwriter's maximum Limit of Liability for all Loss resulting from all Claims or
                     Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                     (C).

       (4)    Insuring Agreement (D) - Evacuation Expense

              (a)    The "Each Evacuation" amount stated in ITEM 4.D. of the Declarations will be the
                     Underwriter's maximum Limit of Liability for all Loss resulting from each Evacuation for
                     which this Policy provides coverage under INSURING AGREEMENT (D).

              (b)    The "Aggregate for all Evacuations" amount stated in ITEM 4.D. of the Declarations will
                     be the Underwriter's maximum Limit of Liability for all Loss resulting from all
                     Evacuations for which this Policy provides coverage under INSURING AGREEMENT (D).

       (5)    Insuring Agreement (El - Legal/Media Expense



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              (a)     The "Each Legal Defense Proceeding" amount stated in ITEM 4.E. of the Declarations will
                      be the Underwriter's maximum Limit of Liability for all Loss resulting from each Legal
                      Defense Proceeding for which this Policy provides coverage under INSURING
                      AGREEMENT (E).

              (b)     The "Aggregate for all Legal Defense Proceedings" amount stated in ITEM 4.E. of the
                      Declarations will be the Underwriter's maximum Limit of Liability for all Loss resulting
                      from all Legal Defense Proceedings for which this Policy provides coverage under
                      INSURING AGREEMENT (E).

       (6)    Each Limit of Liability described in paragraphs (1) through (5) above shall apply regardless of the
              time of payment by the Underwriter, the number of persons or entities included within the
              definition of Insured, or the number of claimants, and regardless of whether such Claim or
              Related Claims is/are first made during the Policy Period or during any Extended Reporting
              Period.

       (7)    (a)     The Insured shall be responsible for payment in full of the applicable deductible or self-
                      insured retention stated in ITEM 4 of the Declarations, and the Underwriter's obligation
                      to pay Loss or Defense Expenses under this Policy shall be excess of such deductible
                      or self-insured retention; provided, that no deductible or self-insured retention shall apply
                      to (i) Claims for Property Damage resulting from any fire caused by the Insured's
                      negligence and occurring on premises rented to the Insured or temporarily occupied by
                      the Insured with the permission of the owner of such premises or (ii) Claims for
                      Property Damage (other than damage caused by fire) to premises, including the
                      contents of such premises, rented to the Insured for a period of seven (7) or fewer
                      consecutive days, and which are subject to the "Damage to Rented Premises" Limit of
                      Liability set forth in ITEM 4.B. of the Declarations. The applicable deductible or self-
                      insured retention shall apply to each Claim or Related Claims (subject to the
                      applicable aggregate deductible or self-insured retention amount, if any), and shall be
                      eroded ( or exhausted) by the Insured's payment of Loss or Defense Expenses. The
                      Underwriter shall have no obligation whatsoever, either to the Insured or any other
                      person or entity, to pay all or any portion of the applicable deductible or self-insured
                      retention on behalf of the Insured. The Underwriter shall, however, at its sole
                      discretion, have the right and option to do so, in which event the Insured will repay the
                      Underwriter any amounts so paid.

              (b)     If a "Deductible" is selected under any Insuring Agreement in ITEM 4 of the
                      Declarations, any amounts paid within such deductible will reduce, and may exhaust, the
                      applicable Limits of Liability for such Insuring Agreement.

                      If a "Self-Insured Retention" is selected under any Insuring Agreement in ITEM 4 of the
                      Declarations, any amounts paid within such self-insured retention will not reduce the
                      applicable Limits of Liability for such Insuring Agreement.

       (8)    All Insureds under this Policy share the Limits of Liability. In no event will the number of
              Insureds involved in a Claim or Related Claims increase the applicable Limit of Liability.

       (9)    In the event a Claim under this Policy involves more than one (1) Insuring Agreement
              hereunder, it is understood and agreed that only one (1) deductible or self-insured retention and
              one (1) Limit of Liability will apply to such Claim, which shall be the highest applicable "Each
              Claim" Limit of Liability stated in ITEM 4 of the Declarations and the deductible or self-insured
              retention corresponding to such Limit of Liability.

       (10)   If any Claim made against the Insureds gives rise to coverage both under this Policy and under
              any other policy or policies issued by the Underwriter or any affiliate of the Underwriter, the
              Underwriter's and, if applicable, such affiliate's maximum aggregate limit of liability under all such


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               policies for all Loss in respect of such Claim will not exceed the largest single available limit of
               liability under any such policy, including this Policy. In no event will more than one policy issued
               by the Underwriter respond to a Claim.

(B)    Related Claims Deemed Single Claim:

       All Related Claims, whenever made, shall be deemed to be a single Claim, regardless of:

       (1)    the number of Related Claims;

       (2)    the number or identity of claimants;

       (3)    the number or identity of Insureds involved or against whom Related Claims have been or
              could be made;

       (4)    whether the Related Claims are asserted in a class action or otherwise; and

       (5)    the number and timing of the Related Claims, even if the Related Claims comprising such
              single Claim were made in more than one Policy Period.

       All Related Claims will be treated as a single Claim made when the earliest of such Related Claims
       was first made, or when the earliest of such Related Claims is treated as having been made in
       accordance with GENERAL CONDITION (C)(2) below, whichever is earlier.

(C)    Reporting of Claims, Occurrences and Circumstances:

       (1)    If, during the Policy Period or any Extended Reporting Period, any Claim for a Wrongful Act
              under INSURING AGREEMENT (A) or (C) is first made against an Insured, as a condition
              precedent to its right to any coverage under this Policy, the Insured shall give the Underwriter
              written notice of such Claim as soon as practicable thereafter, but in no event later than:

              (a)      thirty (30) days after the Expiration Date or earlier cancellation date of this Policy; or

              (b)      the expiration of any Extended Reporting Period.

              Timely and sufficient notice by one Insured of a Claim shall be deemed timely and sufficient
              notice for all Insureds involved in the Claim. Such notice shall give full particulars of the Claim,
              including, but not limited to: a description of the Claim and Wrongful Act; the identity of the
              patient, all potential claimants and the health care provider(s) and any Insureds involved; a
              description of the injury or damages that resulted from such Wrongful Act; information on the
              time, place and nature of the Wrongful Act; and the manner in which the Insured first became
              aware of such Wrongful Act .

       (2)    If during the Policy Period an Insured first becomes aware of any Wrongful Act that may
              subsequently give rise to a Claim under INSURING AGREEMENT (A) or (C) and:

              (a)     gives the Underwriter written notice of such Wrongful Act with full particulars as soon
                      as practicable thereafter but in any event before the Expiration Date or earlier
                      cancellation date of this Policy; and

              (b)     requests coverage under INSURING AGREEMENT (A) or (C) of this Policy for any Claim
                      subsequently arising from such Wrongful Act;

              then any Claim not otherwise excluded by this Policy subsequently made against the Insured
              arising out of such Wrongful Act shall be treated as if it had been first made during the Policy
              Period. Full particulars shall include, but are not limited to: a description of the Wrongful Act;

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              the identity of the patient, all potential claimants and the health care provider(s) and any
              Insureds involved; information on the time, place and nature of the Wrongful Act; the manner
              in which the Insured first became aware of such Wrongful Act; and the reasons the Insured
              believes the Wrongful Act is likely to result in a Claim.

       (3)    If any Claim alleging Bodily Injury, Property Damage, Advertising Injury or Personal
              Injury that is caused by an Occurrence under INSURING AGREEMENT (B) is first made against
              an Insured, as a condition precedent to its right to any coverage under this Policy, the Insured
              shall give the Underwriter written notice of such Claim as soon as practicable thereafter. Timely
              and sufficient notice by one Insured of a Claim shall be deemed timely and sufficient notice for
              all Insureds involved in the Claim. Such notice shall give full particulars of the Claim,
              including, but not limited to: a description of the Claim and Occurrence; the identity of all
              potential claimants and any Insureds involved; a description of the injury or damages that
              resulted from such Occurrence; information on the time, place and nature of the Occurrence;
              and the manner in which the Insured first became aware of such Occurrence.

              If an Insured becomes aware of an Occurrence that may subsequently give rise to a Claim
              under INSURING AGREEMENT (B), the Insured shall give the Underwriter written notice of such
              Occurrence as soon as practicable thereafter. Such notice shall include a description of the
              Occurrence; the identity of all potential claimants and any Insureds involved; a description of
              the injury or damages that resulted from such Occurrence; information on the time, place and
              nature of the Occurrence; the manner in which the Insured first became aware of such
              Occurrence; and the reasons the Insured believes such Occurrence is likely to result in a
              Claim.

       (4)    As a condition precedent to its right to any reimbursement under INSURING AGREEMENT (D) of
              this Policy, the Named Insured shall provide the Underwriter written proof of payment of
              Evacuation Expenses as soon as practicable, but in no event later than sixty (60) days after
              the Expiration Date or earlier cancellation date of this Policy.

       (5)    As a condition precedent to its right to any reimbursement under INSURING AGREEMENT (E) of
              this Policy:

              (a)      the Insured shall provide the Underwriter written notice of any Legal Defense
                       Proceeding as soon as practicable, but in no event later than thirty (30) days after the
                       Insured first receives notice of such Legal Defense Proceeding; and

              (b)      the Named Insured shall provide the Underwriter written proof of payment of
                       Legal/Media Expenses in connection with such Legal Defense Proceeding within
                       sixty (60) days of the Insured's payment of such Legal/Media Expenses.

(D)    Defense and Settlement:

       (1)    No Insured shall, except at its own cost, incur any expense, make any payment, admit liability
              for, assume any obligation, or settle any Claim without the Underwriter's written consent. With
              respect to any Claim, the Underwriter will have the right to investigate, direct the defense, and
              conduct settlement negotiations it deems appropriate. The Underwriter may make any settlement
              of any Claim which it deems appropriate.

       (2)    The Underwriter will have no obligation to pay Loss or Defense Expenses, or continue to direct
              the defense of any Insured, after the applicable Limit of Liability has been exhausted by the
              payment of Loss.

       (3)    If both Loss covered by this Policy and Loss not covered by this Policy are incurred, either
              because a Claim made against the Insureds includes both covered and uncovered matters, or
              because a Claim is made against both Insureds and others not included within the definition of


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               "Insured" set forth in DEFINITION (SJ above, the Insureds and the Underwriter agree to use
               their best efforts to determine a fair and proper allocation of all such amounts. The
               Underwriter's obligation to pay Loss under this Policy shall relate only to those sums allocated to
               the Insureds. In making such determination, the parties shall take into account the relative
               legal and financial exposures of, and relative benefits obtained in connection with the defense
               and/or settlement of the Claim by the Insureds and others. In the event that the Underwriter
               and the Insureds do not reach an agreement with respect to an allocation, then the Underwriter
               shall be obligated to make an interim payment of the amount of Loss which the parties agree is
               not in dispute until a final amount is agreed upon or determined pursuant to the provisions of
               this Policy and applicable law.

(E)    Territory:

       This Policy applies to Wrongful Acts or Occurrences taking place anywhere in the world. Claim or suit
       must be made against an Insured, however, in the United States of America, including its territories or
       possessions, Puerto Rico, or Canada.

(F)    Mergers, Acquisitions or Newly Created Entities:

       If, during the Policy Period, the Named Insured acquires or creates another entity or subsidiary or
       becomes a member of a joint venture or partner in a partnership, or if the Named Insured merges or
       consolidates with another entity such that the Named Insured is the surviving entity (any such
       acquired, created, merged or consolidated entity an "Acquired Entity''), then for a period of sixty (60)
       days after the effective date of the transaction, such Acquired Entity shall be included within the term
       "Named Insured" with respect to Wrongful Acts or Occurrences happening after the effective date
       of the transaction. Upon the expiration of the sixty (60) day period, there will be no coverage under this
       Policy for any Claim in any way involving the Acquired Entity or its Insureds unless within such sixty
       (60) day period:

       (1)     the Named Insured gives the Underwriter such information regarding the transaction as the
               Underwriter requests; and

       (2)     the Underwriter has specifically agreed by written endorsement to this Policy to provide coverage
               with respect to such Acquired Entity and its Insureds, and the Named Insured accepts any
               terms, conditions, exclusions or limitations, including payment of additional premium, as the
               Underwriter, in its sole discretion, imposes in connection with the transaction.

       For purposes of this GENERAL CONDITION (F), "subsidiary" means any entity for which the Named
       Insured owns or possesses fifty percent (50%) of the issued and outstanding capital stock, or has or
       controls the right to elect or appoint more than fifty percent (50%) of the directors or trustees.

(G}    Sales or Dissolution of Insured Entities; Cessation of Business:

       (1)     If, during the Policy Period:

               (a)     the First Named Insured is dissolved, sold, acquired by, merged into, or consolidated
                       with another entity such that the First Named Insured is not the surviving entity; or

               (b)     any person, entity, or affiliated group of persons or entities obtains:

                       (i)     ownership or possession of fifty percent (50%) or more of the issued and
                               outstanding capital stock of the First Named Insured; or

                       (ii)    the right to elect or appoint more than fifty percent (50%) of the First Named
                               Insured's directors or trustees; or



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               (c)      the First Named Insured ceases to do business for any reason;

               (any of which events is referred to as a "Transaction" in this GENERAL CONDITION (G)) coverage
               under this Policy shall continue in full force and effect until the Expiration Date or any earlier
               cancellation date, but this Policy shall apply only to Occurrences or Wrongful Acts happening
               before the effective date of such Transaction. This Policy will not apply to, and the Underwriter
               will not pay any Loss or Defense Expenses for, any Claim based upon, arising out of, directly
               or indirectly resulting from, in consequence of, or in any way involving, any Occurrence or
               Wrongful Act happening on or after the effective date of such Transaction. It is further
               understood and agreed that if such a Transaction occurs during the Policy Period, then no
               coverage will be available for any Evacuation that occurs on or after the effective date of such
               Transaction or any Legal Defense Proceeding that is first brought against an Insured on or
               after the effective date of such Transaction.

       (2)     If, during the Policy Period, any Named Insured, other than the First Named Insured, is
               involved in an event described in paragraph (1) above, then solely with respect to such Named
               Insured and its Insureds, coverage under this Policy for Occurrences or Wrongful Acts
               happening before the effective date of such event shall continue in full force and effect until the
               Expiration Date or any earlier cancellation date and this Policy will not apply to, and the
               Underwriter will not pay any Loss or Defense Expenses for, any Claim based upon, arising out
               of, directly or indirectly resulting from, in consequence of, or in any way involving, any
               Occurrence or Wrongful Act happening on or after the effective date of such event. It is
               further understood and agreed that if any Named Insured, other than the First Named
               Insured, is involved in an event described in paragraph (1) above during the Policy Period,
               then solely with respect to such Named Insured and its Insureds, no coverage will be
               available for any Evacuation that occurs on or after the effective date of such event or any
               Legal Defense Proceeding that is first brought against an Insured on or after the effective
               date of such event.

(H)    Extended Reporting Period for INSURING AGREEMENTS (A) and (C):

       If this Policy is canceled for any reason other than fraud, misrepresentation or non-payment of premium
       or is not renewed by the Underwriter or the First Named Insured, an additional period of time during
       which Claims made under INSURING AGREEMENTS (A) and (C) of this Policy may be reported (an
       "Extended Reporting Period") shall be made available as described in this GENERAL CONDITION (H), but
       any such Extended Reporting Period shall apply only to Claims for Wrongful Acts committed or
       allegedly committed before the effective date of such cancellation or non-renewal (the 'Termination
       Date'') or the date of any conversion of coverage under GENERAL CONDITION (G), whichever is earlier.
       No Extended Reporting Period shall in any way increase the Underwriter's Limits of Liability as stated in
       ITEM 4 of the Declarations, and the Underwriter's Limit of Liability for Claims made during any Extended
       Reporting Period shall be part of, and not in addition to, the Limits of Liability stated in ITEM 4 of the
       Declarations. The Extended Reporting Period will apply as follows:

       (1)     An Extended Reporting Period of sixty (60) days, beginning as of the Termination Date, will apply
               automatically and requires no additional premium; provided, that such Extended Reporting Period
               will remain in effect only as long as no other policy of insurance is in effect that would apply to
               any Claim made during such Extended Reporting Period.

       (2)     The First Named Insured may purchase an additional Extended Reporting Period for one of
               the periods of time stated in ITEM 7 of the Declarations by notifying the Underwriter in writing of
               its intention to do so no later than thirty (30) days after the Termination Date. The additional
               premium for this additional Extended Reporting Period shall be equal to the applicable amount
               stated in ITEM 7 of the Declarations and must be paid no later than thirty (30) days after the
               Termination Date. Such additional premium shall be deemed fully earned upon inception of
               such Extended Reporting Period.



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       If no election to purchase an additional Extended Reporting Period is made as described in GENERAL
       CONDITION (H)(2) above, or if the additional premium for any such Extended Reporting Period is not
       paid within thirty (30) days after the Termination Date, there will be no right to purchase an additional
       Extended Reporting Period at any later time.

{I}    Cancellation; Non-Renewal:

       (1)     The Underwriter may cancel this Policy by mailing written notice to the First Named Insured at
               the last known address shown on the Declarations stating when, not less than sixty (60) days
               thereafter (or such longer period of time as required by applicable law), such cancellation shall
               be effective; except that, in the event of cancellation for non-payment of premium, the
               Underwriter may make the cancellation effective upon notice of only ten (10) days (or such
               longer period of time as required by applicable law). Notwithstanding the foregoing, if the
               Underwriter receives no premium whatsoever by the premium due date and no premium
               whatsoever is received by the last day of such ten (10) day notice period (or such longer period
               of time as required by applicable law), the Underwriter may cancel this Policy as of the Inception
               Date set forth in ITEM 2(a) of the Declarations.

       (2)     Except as set forth in GENERAL CONDITION (M), the First Named Insured may cancel this
               Policy by mailing the Underwriter written notice stating when, not later than the Expiration Date
               set forth in ITEM 2(b) of the Declarations, such cancellation will be effective. In such event, and
               subject at all times to GENERAL CONDITION (N), the earned premium will be computed in
               accordance with the customary short rate table and procedure. Premium adjustment may be
               made either at the time cancellation is effective or as soon as practicable after cancellation
               becomes effective, but payment or tender of unearned premium is not a condition of
               cancellation.

       (3)     The Underwriter will not be required to renew this Policy upon its expiration.

(J)    Assistance and Cooperation:

       In the event of a Claim, the Insured shall provide the Underwriter with all information, assistance and
       cooperation that the Underwriter reasonably requests. At the Underwriter's request, the Insured shall
       assist in: investigating, defending and settling Claims; enforcing any right of contribution or indemnity
       against another who may be liable to any Insured; the conduct of actions, suits, appeals or other
       proceedings, including, but not limited to, attending trials, hearings and depositions; securing and giving
       evidence; and obtaining the attendance of witnesses.

(K)    Subrogation:

       In the event of any payment hereunder, the Underwriter shall be subrogated to the extent of any
       payment to all of the rights of recovery of the Insured. The Insured shall execute all papers and do
       everything necessary to secure such rights, including the execution of any documents necessary to
       enable the Underwriter effectively to bring suit in its name. The Insured shall do nothing that may
       prejudice the Underwriter's position or potential or actual rights of recovery. The obligations of the
       Insured under this GENERAL CONDITION (K) shall survive the expiration or termination of the Policy.

(L)    Other Insurance and Risk Transfer Arrangements:

       Any Loss or Defense Expenses resulting from any Claim insured under any other insurance or self-
       insurance policy or program or risk transfer instrument, including, but not limited to, self-insured
       retentions, deductibles, fronting arrangements, professional liability policies covering any Insured, or
       other alternative arrangements which apply to the Loss or Defense Expenses shall be paid first by
       those instruments, policies or other arrangements. It is the intent of this Policy to apply only to Loss or
       Defense Expenses that are more than the total limit of all deductibles, limits of liability, self-insured
       amounts or other insurance or risk transfer arrangements, whether primary, contributory, excess,


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       contingent, fronting or otherwise and whether or not collectible. These provisions do not apply to other
       insurance policies or risk transfer arrangements written as specific umbrella or excess insurance over the
       applicable Limits of Liability of this Policy. This Policy shall not be subject to the terms of any other policy
       of insurance or plan or program of self-insurance; and in no event will the Underwriter pay more than the
       applicable Limits of Liability set forth in ITEM 4 of the Declarations.

(M)    Exhaustion:

       If the Underwriter's applicable Aggregate Limit of Liability for any Insuring Agreement, as set forth in
       ITEM 4 of the Declarations, is exhausted by the payment of Loss, all obligations of the Underwriter under
       such Insuring Agreement will be completely fulfilled and exhausted, including any obligation to pay
       Defense Expenses or to continue to direct the defense of any Insured, and the Underwriter will have
       no further obligations of any kind or nature whatsoever under such Insuring Agreement.

       If all of the Underwriter's applicable Limits of Liability are exhausted by the payment of Loss, the
       premium will be fully earned, all obligations of the Underwriter under this Policy will be completely
       fulfilled and exhausted, including any obligation to pay Defense Expenses or to continue to direct the
       defense of any Insured, and the Underwriter will have no further obligations of any kind or nature
       whatsoever under this Policy.

(N)    Minimum Earned Premium:

       The percentage set forth in ITEM 6.B. of the Declarations is the percentage of the Policy Premium set
       forth in ITEM 6.A. of the Declarations that shall be deemed fully earned as of the Inception Date set forth
       in ITEM 2( a) of the Declarations.

(0)    Risk Management:

        The Underwriter directly or indirectly may make available risk management services in connection with
        this Policy for the purpose of managing and reducing the risks covered under this Policy. Such risk
        management services may cease or change in the Underwriter's sole discretion at any time.

(P)    Authorization and Notices:

       The First Named Insured will act on behalf of all Insureds with respect to: the giving or receiving of
       any notices under this Policy; the payment of premiums to, and receiving of return premiums from, the
       Underwriter; the receiving and acceptance of any endorsements issued to form a part of this Policy; and
       the exercising or declining to exercise any Extended Reporting Period.

(Q)    Conformance:

       Any terms of this Policy that are in conflict with the laws or regulations of the state in which this Policy is
       issued are amended to conform with such laws or regulations.

(R)    Representation; Incorporation of Application:

       The Insureds represent that the particulars and statements contained in the Application attached to this
       Policy are true, accurate and complete and agree that:

       (1)     this Policy is issued and continued in force by the Underwriter in reliance upon the truth of such
               representation;

       (2)     those particulars and statements are the basis of this Policy; and

       (3)     the Application and those particulars and statements are incorporated in and form a part of this
               Policy.


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       No knowledge or information possessed by any Insured shall be imputed to any other Insured, except
       for material facts or information known to the person or persons who signed the Application. In the event
       of any material untruth, misrepresentation or omission in connection with any of the particulars or
       statements in the Application, this Policy shall be void with respect to any Insured who knew of such
       untruth, misrepresentation or omission or to whom such knowledge is imputed.

(S)    No Action against Underwriter:

       (1)       No action shall be taken against the Underwriter by any Insured unless, as conditions precedent
                 thereto, the Insured has fully complied with all of the terms of this Policy and the amount of the
                 Insured's obligation to pay has been finally determined either by judgment against the Insured
                 after adjudicatory proceedings or by written agreement of the Insured, the claimant and the
                 Underwriter.

       (2)       No individual or entity shall have any right under this Policy to join the Underwriter as a party to
                 any Claim to determine the liability of any Insured; nor shall the Underwriter be impleaded by
                 an Insured or his, her, or its legal representative in any such Claim.

(T)    Notice:

       (1)       Notice to any Insured shall be sent to the First Named Insured at the address designated in
                 ITEM 1 of the Declarations.

       (2)       Notice to the Underwriter shall be sent to the address designated in ITEM 8 of the Declarations.

(U)    Changes:

       Notice to or knowledge possessed by any agent or other person acting on behalf of the Underwriter shall
       not effect a waiver or change in any part of this Policy or prevent or estop the Underwriter from asserting
       any right(s) under this Policy. This Policy can only be altered, waived, or changed by written
       endorsement issued to form a part of this Policy.

(V}    Insolvency of Insured:

       The Underwriter will not be relieved of any of its obligations under this Policy by the bankruptcy or
       insolvency of any Insured or his/her/its estate.

(W)    Inspections and Surveys:

       The Underwriter or its duly authorized agent has the right but is not obliged to:

       (1)       make inspections and surveys of the Named Insured's premises and operations at any time;

       (2)       provide the Insured with reports on the conditions found;

       (3)       recommend changes;

       (4)       conduct loss control and prevention activity.

      Any inspections, surveys, reports, or recommendations relate only to insurability and the premium to be
      charged.

      The Underwriter does not:

       (a)       make safety inspections;

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        (b)     undertake to perform the duty of any entity to provide for the health or safety of workers or the
                public; or

        (c)     warrant that conditions:

                (i)     are safe or healthy; or

                (ii)    comply with laws, regulations or codes.

(X)     Examination of Books and Records:

       The Underwriter may examine and audit the books and records of the Insured as they relate to this
       Policy.

(Y)     Service of Suit:

        Pursuant to any statute of any state, territory or district of the United States which makes provision
        therefor, the Underwriter hereby designates the Superintendent, Commissioner or Director of Insurance
        or other officer specified for that purpose by statute, as its true and lawful attorney upon whom may be
        served any lawful process in any action, suit or proceeding instituted by or on behalf of the Insured, or
        any beneficiary hereunder, arising out of this contract of insurance.

(Z)    Assignment:

       No assignment of interest under this Policy shall bind the Underwriter without its written consent issued
       as a written endorsement to form a part of this Policy.

(AA)   Entire Agreement:

       The Insureds agree that this Policy, including the Application and any endorsements, constitutes the
       entire agreement between them and the Underwriter or any of its agents relating to this insurance.

(BB)   Headings:

       The descriptions in the headings and sub-headings of this Policy are solely for convenience, and form no
       part of the terms and conditions of coverage.


In witness whereof the Underwriter has caused this Policy to be executed by its authorized officers.




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                                             ENDORSEMENT NO. 1

                AMEND PRIOR KNOWLEDGE EXCLUSION (D)(1) ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30 2017                , forms part of

      Policy No.       MFL-004062-0617
      Issued by        Homeland Insurance Company of New York
      Issued to        Sonic Healthcare Investments, G.P.



In consideration of the premium charged, Section III EXCLUSIONS (D)(l) of this Policy is amended to read in its
entirety as follows:

        (1)        act, error, omission or Wrongful Act if, on or before the Inception Date set forth in ITEM 2 of
                   the Declarations, the

                   Risk Management Dept of Legal Dept or any Executive

                   of the Named Insured knew or reasonably could have foreseen that such act, error, omission,
                   or Wrongful Act might result in a Claim.

                   If, however, this Policy is a renewal of one or more policies previously issued by the Underwriter
                   to the First Named Insured, and the coverage provided by the Underwriter to the First
                   Named Insured was in effect, without interruption, for the entire time between the inception
                   date of the first such other policy and the Inception Date of this Policy, the reference in this
                   EXCLUSION (D)(l) to the Inception Date will be deemed to refer instead to the inception date of
                   the first policy under which the Underwriter began to provide the First Named Insured with
                   the continuous and uninterrupted coverage of which this Policy is a renewal;


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                           ENDORSEMENT NO. 2

               AMEND CANCELLATION TO NINETY (90) DAYS ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on June 30 2017              , forms part of:

        Policy No.    MFL-004062-0617
        Issued by     Homeland Insurance Company of New York
        Issued to     Sonic Healthcare Investments, G.P.



In consideration of the premium charged, paragraph (1) of Section IV GENERAL CONDITIONS (I) of this Policy is
amended to read in its entirety as follows:

        (1)     The Underwriter may cancel this Policy by mailing written notice to the First Named Insured at
                the last known address shown on the Declarations stating when, not Jess than ninety (90) days
                thereafter (or such longer period of time as required by applicable Jaw), such cancellation shall
                be effective; except that, in the event of cancellation for non-payment of premium, the
                Underwriter may make the cancellation effective upon notice of only ten (10) days (or such
                longer period of time as required by applicable Jaw). Notwithstanding the foregoing, if the
                Underwriter receives no premium whatsoever by the premium due date and no premium
                whatsoever is received by the last day of such ten (10) day notice period (or such longer period
                of time as required by applicable Jaw), the Underwriter may cancel this Policy as of the Inception
                Date set forth in ITEM 2(a) of the Declarations.


All other terms, conditions and limitations of the Policy shall remain unchanged.




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                                            ENDORSEMENT NO. 3

      ADDITIONAL NAMED INSURED - RELATED TO ORIGINAL NAMED INSURED
                             ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30 2017                , forms part of:

      Policy No.       MFL-004062-0617
      Issued by        Homeland Insurance Company of New York
      Issued to        Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

(1)    The term "Named Insured," as defined in Section II DEFINITIONS of this Policy, is amended to include
       the entity(ies) scheduled below (each an "Additional Named Insured''), but solely:

       (a)         with respect to liability imposed or sought to be imposed on such Additional Named Insured that
                   is based on or arises out of acts, errors or omissions committed or allegedly committed by such
                   Additional Named Insured when and to the extent that, such Additional Named Insured is acting
                   on behalf of, and within the capacity and scope of its duties for

                   Sonic Healthcare Investments, G.P.

                   ; and

       (b)         for Wrongful Acts happening on or after the Retroactive Date identified for each Additional
                   Named Insured in the schedule below and Occurrences happening on or after the effective date
                   of this endorsement:

       SCHEDULE


       Additional Named Insured:                                                  Retroactive Date:
       Sonic Healthcare USA, Inc                                                  February 05, 2007
       Sunrise Medical Laboratories, Inc                                          March 05, 1995
       Clinical Pathology Laboratories, Inc                                      October 01, 2000
        Mullins Pathology & Cytology Laboratory,                                 April 30, 2007
         Inc
       Woodbury Clincal Pathology, Inc                                           January 05, 1992
       Memphis Pathology Laboratory                                              January 07, 2007
       Clinical Laboratory Services, Inc                                         January 07, 2007
       Fainfax Medical Laboratories, Inc                                         June 19, 2006
       Pathology Laboratories, Inc dba Lima                                      March 01, 1987
        Pathology Laboratories
       Cognoscenti Health Institute, LLC                                         September 01, 2006
       DRL Labs, Ltd. Completely merged into                                     March 28, 2003
          Clinical Pathology as of 03/28/2003
       American Esoteric Laboratories, Inc.                                      TBD
        Closed Lab in March 2007 - Continues


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        Additional Named Insured:                                                   Retroactive Date:
          as a holding company
        Piedmont Joint venture Laboratory, Inc                                      August 05, 2003
        American Clinical Services                                                  February 01, 2004
        Clinical Pathology Laboratories                                             March 29, 2010
          Southwest, Inc
        Clinical Laboratories of Hawaii, LLP                                        August 01, 1985
        Pan Pacific Pathologists, LLC                                               August 01, 1985
        East Side Clinical Laboratory, Inc                                          June 30, 1990
        Physician's Automated Laboratory                                            June 01, 1989
        CBLPath Holdings Corp                                                       May 01, 2004
        CBLPath Inc                                                                 July 01, 2004
        CBLPath Transport                                                           January 01, 2007
        Sonic Healthcare Limited                                                    February 05, 2007
        Douglass Hanly Moir Pathology Pty                                           February 05, 2007
          Limited
        Sonic Healthcare Internatoinal Pty Ltd                                      February 05, 2007
        Sonic Healthcare Pathology Pty Ltd                                          February 05, 2007
        Sonic Reference Laboratory Inc                                              December 01, 2014
        Sonic Healthcare (Ireland) Limited (term                                    August 01, 2010
         date 06.30.2013)
        Medlab Pathology (term date 06.30.2013)                                     August 01, 2010
        Clinical Pathology Laboratories,                                            March 29, 2010
          Southeast, Inc
        Memphis Pathology Holdings, LLC                                             September 23, 2016
        BMHSI/AEL Microbiology Laboratory, GP                                       October 26, 2016

(2)     It is understood and agreed that the Additional Named Insured(s) share in the applicable Limits of
        Liability set forth in ITEM 4 of the Declarations.

(3)     ITEM 3 of the Declarations shall be deemed amended to the extent necessary to effect the purpose and
        intent of this endorsement.


All other terms, conditions and limitations of the Policy shall remain unchanged.




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                                                 ENDORSEMENT NO. 4

                 NOTICE OF CANCELLATION TO SCHEDULED PARTY ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30 2017                     , forms part of:

         Policy No.        MFL-004062-0617
         Issued by         Homeland Insurance Company of New York
         Issued to         Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

(1)           If the Underwriter cancels this Policy for any reason other than non-payment of premium, the
              Underwriter will endeavor to provide notice of such cancellation to the individual(s) or entity(ies)
              identified in the schedule below (each a "Scheduled Party"), at the address set forth next to the
              Scheduled Party's name, when notice of cancellation is sent to the First Named Insured. In no event
              will the timing of notice to a Scheduled Party exceed the timing of notice to the First Named Insured.
              It is understood and agreed that notice of cancellation to a Scheduled Party is provided solely as a
              courtesy for the convenience of the First Named Insured and does not constitute a prerequisite to
              effective policy cancellation.

(2)           Failure to provide notice of cancellation to a Scheduled Party shall impose no liability of any kind or
              nature whatsoever on the Underwriter and shall not amend or extend the effective date of policy
              cancellation or invalidate the cancellation.

 Scheduled Party:                                                 Scheduled Party Address:

 State of Hawaii, Department of Public                            919 Ala Moana Boulevard, Honolulu,
      Safety, ASO-Purchasing and Contracts                          Hawaii 96814
      Staff
 County of Kern Public Health Services                            1800 Mount Vernon Avenue, 3rd Floor,
      Department                                                    Bakersfield, CA 93306-3302
 MediGold, Provider Credentialing                                 6150 East Broad Street, Columbus, Ohio
                                                                    43213



All other terms, conditions and limitations of the Policy shall remain unchanged.




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                                            ENDORSEMENT NO. 5

      SCHEDULE OF INSURED PHYSICIANS AND LOCUM TENENS ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on June 30 2017               , forms part of:

      Policy No.      MFL-004062-0617
      Issued by       Homeland Insurance Company of New York
      Issued to       Sonic Healthcare Investments, G.P.




In consideration of the premium charged:

(1)     Notwithstanding anything to the contrary contained in this Policy or any endorsement thereto, the term
        "Insured," as defined in Section II DEFINITIONS of this Policy, is amended to include the physician(s)
        scheduled below, but only while rendering Professional Services on behalf of, and within the scope
        and capacity of his or her duties for, the Named Insured.

        SCHEDULE
        Name                                                Retroactive Date         Specialty
        On file with company                                August 01, 2012          Physician

(2)     The term "Insured," as defined in Section II DEFINITIONS of this Policy, is amended to include any
        Locum Tenens, but only when such Locum Tenens is acting within the capacity and scope of his or
        her duties as such. Coverage for any Locum Tenens shall only extend for up to sixty (60) days during
        the Policy Period per Insured physician for whom such Locum Tenens is serving as a substitute.

(3)     Section II DEFINITIONS of this Policy is amended to include the following term:
                "Locum Tenens" means any physician who is temporarily serving as a substitute physician for
                an Insured physician scheduled in paragraph (1) above while such Insured physician is
                temporarily absent from professional practice.

(4)     No coverage will be available under this Policy for Loss or Defense Expenses for any Claim based
        upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
        actual or alleged Professional Services Wrongful Act committed or allegedly committed by any
        Insured physician scheduled in paragraph (1) above:

        (a)        prior to the Retroactive Date set forth opposite such Insured physician's name; or

        (b)        on or after (i) the date such Insured physician ceased to be an employee of the Named
                   Insured or (ii) the termination date of the contract or agreement under which such Insured
                   physician was rendering Professional Services on behalf of the Named Insured.

(5)     It is understood and agreed that the Insured physicians scheduled in paragraph (1) above and any
        Locum Tenens share in the applicable Limits of Liability set forth in ITEM 4 of the Declarations.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                            ENDORSEMENT NO. 6

    DEDUCTIBLE/SELF-INSURED RETENTION - INDEMNITY ONLY ENDORSEMENT
This Endorsement, which is effective at 12:01 a.m. on June 30 2017                   forms part of:

      Policy No.           MFL-004062-0617
      Issued by            Homeland Insurance Company of New York
      Issued to            Sonic Healthcare Investments, G.P.



In consideration of the premium charged, subparagraph (a) of Section IV GENERAL CONDITIONS (A)(7) of this
Policy is amended to read in its entirety as follows:

        (a)        The Insured shall be responsible for payment in full of the applicable deductible or self-insured
                   retention stated in ITEM 4 of the Declarations, and the Underwriter's obligation to pay Loss
                   under this Policy shall be excess of such deductible or self-insured retention; provided, that no
                   deductible or self-insured retention shall apply to (i) Claims for Property Damage resulting
                   from any fire caused by the Insured's negligence and occurring on premises rented to the
                   Insured or temporarily occupied by the Insured with the permission of the owner of such
                   premises or (ii) Claims for Property Damage (other than damage caused by fire) to premises,
                   including the contents of such premises, rented to the Insured for a period of seven (7) or
                   fewer consecutive days, and which are subject to the "Damage to Rented Premises" Limit of
                   Liability set forth in ITEM 4.B. of the Declarations. The applicable deductible or self-insured
                   retention shall apply to each Claim or Related Claims (subject to the applicable aggregate
                   deductible or self-insured retention amount, if any), and shall be eroded (or exhausted) by the
                   Insured's payment of Loss. The Underwriter shall have no obligation whatsoever, either to the
                   Insured or any other person or entity, to pay all or any portion of the applicable deductible or
                   self-insured retention on behalf of the Insured. The Underwriter shall, however, at its sole
                   discretion, have the right and option to do so, in which event the Insured will repay the
                   Underwriter any amounts so paid.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                            ENDORSEMENT NO. 7

                               PEER REVIEW COVERAGE ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on June 30 2017                   forms part of:

      Policy No.           MFL-004062-0617
      Issued by            Homeland Insurance Company of New York
      Issued to            Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

(1)     Subparagraph (3) of the term "Professional Services," as defined in Section II DEFINITIONS of this
        Policy, is amended to read in its entirety as follows:

                   (3)     the activities of an Insured as a member of a board or committee of the Named
                           Insured, or as a member of any committee of the medical or professional staff of the
                           Named Insured, when engaged in Peer Review or Utilization Review;

(2)     Section II DEFINITIONS of this Policy is amended to include the following term:

                   "Peer Review" means the process of evaluating, by members of a formal, duly constituted
                   professional review board or committee of the Named Insured, any individual or entity for
                   purposes of selecting, employing, contracting with or credentialing current or prospective
                   providers of Medical Services.

(3)     Section III EXCLUSIONS (D)(S) of this Policy will not apply to any Claim for Peer Review activities
        otherwise covered under INSURING AGREEMENT (A) of this Policy.

(4)     Section III EXCLUSIONS (D)(16) of this Policy is deleted in its entirety.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                             ENDORSEMENT NO. 8

               HIPAA VIOLATION REIMBURSEMENT COVERAGE ENDORSEMENT
This Endorsement, effective at 12:01 a.m. on June 30 2017               , forms pa rt of

      Policy No.         MFL-004062-0617
      Issued by          Homeland Insurance Company of New York
      Issued to          Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

(1)     In addition to the coverage afforded under all INSURING AGREEMENTS of this Policy, upon satisfactory
        proof of payment by the Named Insured, the Underwriter will reimburse the Named Insured, up to
        the Limit of Liability set forth in paragraph ( 4) below, for HIPAA Fines and Penalties actually paid by
        the Named Insured resulting from a HIPAA Violation that occurs during the Policy Period.

(2)     Section II DEFINITIONS of this Policy is amended to include the following terms:

                   "HIPAA Fines and Penalties" means any civil fines or penalties imposed upon an Insured for
                   violation of Title II of the Health Insurance Portability and Accountability Act of 1996.

                   "HIPAA Violation" means any violation by an Insured of lltle II of the Health Insurance
                   Portability and Accountability Act of 1996.

(3)     Solely with respect to the coverage afforded under paragraph (1) above, clause (c) of the term "Loss,"
        as defined in Section II DEFINITIONS of this Policy, is amended to read in its entirety as follows:

                   (c)      fines, penalties, sanctions, fees, government payments or taxes, except HIPAA Fines
                            and Penalties;

(4)     The Underwriter's maximum aggregate Limit of Liability for all HIPAA Fines and Penalties resulting
        from all HIPAA Violations reimbursed under paragraph (1) above shall be $=2~5~0~00~----
        Payment of such maximum aggregate Limit of Liability shall terminate the Underwriter's obligation to
        reimburse any further HIPAA Fines and Penalties under this Policy.

(5)     If, during the Policy Period, a HIPAA Violation occurs, as a condition precedent to its right to
        reimbursement under paragraph (1) above, the Named Insured shall give the Underwriter written
        notice of such HIPAA Violation as soon as practicable thereafter, but in no event later than thirty (30)
        days after the Expiration Date or earlier cancellation date of this Policy.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                              ENDORSEMENT NO. 9

      DELETE GENERAL LIABILITY AND EMPLOYEE BENEFIT LIABILITY COVERAGES
                   WITH PRODUCT EXCLUSION ENDORSEMENT
This Endorsement, which is effective at 12:01 a.m. on June 30 2017                   forms part of:

       Policy No.           MFL-004062-0617
       Issued by            Homeland Insurance Company of New York
       Issued to            Sonic Healthcare Investments, G.P.



In consideration of the premium charged, it is understood and agreed that:

(1)      No coverage will be available under this Policy for any General Liability coverage or Employee Benefit
         Liability coverage. Accordingly:

         (a)        INSURING AGREEMENTS (B) and (C) of this Policy are deleted in their entirety. Any and all
                    references in this Policy to INSURING AGREEMENT (B) or (C) are deleted.

         (b)        Section III EXCLUSIONS (B) and (C) of this Policy are deleted in their entirety.

         (c)        Each of ITEMS 3 and 4 of the Declarations is amended by deleting clauses "B" and "C" therefrom.

(2)      No coverage will be available under this Policy for Loss or Defense Expenses for any Claim based
         upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
         actual or alleged malfunction of any product or failure of any product to perform in any manner as a result
         of any defect, deficiency or inadequacy in the design or manufacture of such product.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                     ENDORSEMENT NO. 10

                         FRONTED DEDUCTIBLE ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30. 2017, forms part of

      Policy No.     MFL-004062-0617
      Issued by      Homeland Insurance Company of New York
      Issued to      Sonic Healthcare Investments, G.P.

In consideration of the premium charged, in accordance with Section IV GENERAL CONDITIONS
(A)(7)(a) of this Policy, the Underwriter has agreed to pay the applicable deductible on behalf of
the Insured; provided, that the Insured understands and agrees that he/she/it shall repay the
Underwriter any amounts so paid as soon as practicable upon demand of the Underwriter.


All other terms, conditions and limitations of this Policy shall remain unchanged.




HPE-0003 8-08-09                                1
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                                            ENDORSEMENT NO. 11

        SEXUAL MISCONDUCT/PHYSICIAL ABUSE INSURING AGREEMENT
                            ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30. 2017, forms part of

      Policy No.         MFL-004062-0617
      Issued by          Homeland Insurance Company of New York
      Issued to          Sonic Healthcare Investments, G.P.

In consideration of the premium charged:

(1)    ITEM 3 of the Declarations is amended to include the following:

                                  Coverage                                                     Retroactive Date
              F.    Sexual Misconduct/Physical Abuse Liability               Claims Made        02.05.2007

(2)    ITEM 4 of the Declarations is amended to include the following at the end thereof:

              F.         Sexual Misconduct/Physical Abuse Liability
                              Each Claim ................................................ $1,000,000
                              Aggregate for all Claims ........................... $3,000,000
                              Deductible x Self-Insured Retention
                                      Per Claim ........................................... $150,000
                                      Aggregate .......................................... N/A

(3)    Section I INSURING AGREEMENTS (F) of this Policy is amended to read in its entirety as
       follows:

                   (F)      Defense and Supplementary Payments:

                             The Underwriter has the right and duty to defend any Claim that is
                             covered by INSURING AGREEMENTS (A), (B), (CJ and (G) of this Policy,
                             even if any of the allegations of such Claim are groundless, false or
                             fraudulent. In addition to the Limits of Liability for INSURING
                             AGREEMENTS (A), (B), and (C), and as part of and not in addition to the
                             Limits of Liability for INSURING AGREEMENT (G), the Underwriter will pay
                             Defense Expenses and will:

                            (1)       pay the premium on any bond to release attachments for an
                                      amount not in excess of the Limits of Liability for INSURING
                                      AGREEMENTS (A), (B), (C) and (G) of this Policy and the premium
                                      on any appeal bond required in any defended suit, provided, that
                                      the Underwriter will not be obligated to apply for or furnish any
                                      such bond;

                            (2)       pay all costs imposed against the Insured in any such suit;

                            (3)       provide a legal defense and pay Defense Expenses for any
                                      arbitration, mediation or other alternative dispute proceeding if:




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                                 (a)     the dispute at issue is a Claim covered by this Policy, and

                                 (b)     the Insured provides notice of the proceeding as required
                                         by GENERAL CONDITION (C) of this Policy; and

                         (4)     pay reasonable expenses, plus loss of earnings due to time off
                                 from work, incurred by an Insured as a result of being a
                                 defendant or co-defendant in a Claim or at the Underwriter's
                                 request, but not to exceed:

                                 (a)     $500 per day per Insured; and

                                 (b)     $12,500 per Claim.

(4)      Section I INSURING AGREEMENTS of this Policy is amended to include the following at the
         end thereof:

                 (G)     Claims Made Sexual Misconduct/Physical Abuse Liability
                         Insurance:

                         The Underwriter will pay up to the applicable Limit of Liability shown in
                         ITEM 4.F. of the Declarations on behalf of the Insured any Loss and
                         Defense Expenses which the Insured is legally obligated to pay as a
                         result of a covered Claim for a Sexual Misconduct/Physical Abuse
                         Wrongful Act happening on or after the Retroactive Date; provided,
                         that the Claim is first made against the Insured during the Policy
                         Period or applicable Extended Reporting Period and reported to the
                         Underwriter in accordance with GENERAL CONDITION (C) of this Policy.

(5)      Subparagraph (1) of the term "Loss," as defined in Section II DEFINITIONS of this Policy,
         is amended to read in its entirety as follows:

                 (1)     for the purposes of INSURING AGREEMENTS (A), (B), (C) and (G), any
                         damages, settlements, judgments or other amounts (including punitive or
                         exemplary damages if insurable under the applicable law most favorable to
                         the insurability thereof) in excess of the applicable deductible or self-
                         insured retention, if any, stated in ITEM 4 of the Declarations which an
                         Insured is legally obligated to pay as a result of a Claim;

(6)      The term "Wrongful Act," as defined in Section II DEFINITIONS of this Policy, is
         amended to include any Sexual Misconduct/Physical Abuse Wrongful Act.

(7)      The following term shall have the meaning set forth below and Section II DEFINITIONS of
         this Policy shall be deemed amended to include such term:

                "Sexual Misconduct/Physical Abuse Wrongful Act" means:

                 (1)    any alleged welcome or unwelcome conduct, physical acts, gestures or
                        spoken or written words of a sexual nature, including without limitation
                        sexual intimacy (even if consensual), sexual molestation, sexual assault,
                        sexual battery, sexual abuse, sexual harassment, sexual exploitation or any
                        sexual act, ("Sexual Misconduct'') by an Insured;




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               (2)      any alleged or threatened physical abuse of any person ("Physical Abuse'')
                        by an Insured;

               (3)      the failure of any Insured, or of any person for whom the Insured is
                        legally responsible, to prevent or suppress the conduct described in
                        subparagraph (1) or (2) above;

               ( 4)     the negligent employment, investigation, supervision, retention, or
                        reporting to the proper authorities (or failing to so report) of any person
                        whose conduct is described in subparagraph (1) or (2) above by an
                        Insured; or

               (5)      any "Sexual Misconduct" or "Physical Abuse" by a person, other than an
                        Insured, for whose actions the Named Insured is legally responsible.
                        In no event shall this Policy provide coverage for the direct liability of any
                        person other than an Insured for "Sexual Misconduct" or "Physical
                        Abuse."

(8)    Solely with respect to INSURING AGREEMENT (G) of this Policy, Section III EXCLUSIONS
       (D)(2) of this Policy is amended to read in its entirety as follows:

               (2)      act, error, omission, Wrongful Act, event, suit or demand which was the
                        subject of any notice given under any policy of insurance or plan or program
                        of self-insurance in effect prior to the Inception Date set forth in ITEM 2 of
                        the Declarations;

(9)    Section III EXCLUSIONS (D)( 4) of this Policy will not apply to Defense Expenses incurred
       in connection with any civil Claim otherwise covered under INSURING AGREEMENT (G) of
       this Policy unless the dishonest, fraudulent, criminal or intentionally malicious act, error or
       omission or willful violation of law, statute, rule or regulation by an Insured, or the
       gaining of any profit, remuneration or advantage by an Insured to which such Insured
       was not legally entitled, has been established by an admission or final adjudication in any
       judicial, administrative or alternative dispute resolution proceeding.

(10)   In addition to, and not in limitation of, the EXCLUSIONS set forth in Section III
       EXCLUSIONS of this Policy, no coverage will be available under INSURING AGREEMENT
       (A), (B) or (C) of this Policy for any Claim based upon, arising out of, directly or indirectly
       resulting from, in consequence of, or in any way involving any actual or alleged Sexual
       Misconduct/Physical Abuse Wrongful Act.

(11)   In addition to, and not in limitation of, the EXCLUSIONS set forth in Section III
       EXCLUSIONS of this Policy, no coverage will be available under INSURING AGREEMENT (G)
       of this Policy for any Claim based upon, arising out of, directly or indirectly resulting from,
       in consequence of, or in any way involving any actual or alleged:

       (a)     Sexual Misconduct/Physical Abuse Wrongful Act that happened before the
               Retroactive Date;

       (b)     Professional Services Wrongful Act, except to the extent such Professional
               Services Wrongful Act is alleged in connection with a Sexual
               Misconduct/Physical Abuse Wrongful Act;

       (c)     Bodily Injury, Property Damage, Advertising Injury or Personal Injury,



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              except to the extent such Bodily Injury, Property Damage, Advertising
              Injury or Personal Injury is alleged in connection with a Sexual
              Misconduct/Physical Abuse Wrongful Act;

       ( d)    Employee Benefit Wrongful Act; or

       (e)    Sexual Misconduct/Physical Abuse Wrongful Act with respect to any
              Insured who knew about such Sexual Misconduct/Physical Abuse Wrongful
              Act and failed to prevent or stop it or knew that the Insured who allegedly
              committed such Sexual Misconduct/Physical Abuse Wrongful Act had a prior
              history of actually or allegedly committing Sexual Misconduct/Physical Abuse
              Wrongful Acts.

(12)   Section IV GENERAL CONDITIONS (A) of this Policy is amended to read in its entirety as
       follows:

              (A)     Limits of Liability

              (1)     Insuring Agreement (A) - Professional Liability

                      (a)     The "Each Claim" amount stated in ITEM 4.A. of the Declarations
                              will be the Underwriter's maximum Limit of Liability for all Loss
                              resulting from each Claim or Related Claims for which this
                              Policy provides coverage under INSURING AGREEMENT (A).

                      (b)     The "Aggregate for all Claims" amount stated in ITEM 4.A. of the
                              Declarations will be the Underwriter's maximum Limit of Liability
                              for all Loss resulting from all Claims or Related Claims for
                              which this Policy provides coverage under INSURING AGREEMENT
                              (A).

              (2)     Insuring Agreement (B) - General Liability

                      (a)     The "Each Claim" amount stated in ITEM 4.B. of the Declarations
                              will be the Underwriter's maximum Limit of Liability for all Loss
                              resulting from each Claim or Related Claims for which this
                              Policy provides coverage under INSURING AGREEMENT (B).

                      (b)     The Underwriter's Limits of Liability for Claims alleging Bodily
                              Injury or Property Damage included in the Products and
                              Completed Operations Hazard shall be equal to, part of, and
                              not in addition to, the "Each Claim" and "Aggregate for all Claims"
                              amounts stated in ITEM 4. B. of the Declarations.

                      (c)     The "Damage to Rented Premises" amount stated in ITEM 4. B. of
                              the Declarations will be the Underwriter's maximum aggregate
                              Limit of Liability for all (i) Claims for Property Damage resulting
                              from any and all fires caused by the Insured's negligence and
                              occurring on premises rented to the Insured or temporarily
                              occupied by the Insured with the permission of the owner of such
                              premises and (ii) Claims for Property Damage (other than
                              damage caused by fire) to premises, including the contents of such
                              premises, rented to the Insured for a period of seven (7) or fewer



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                             consecutive days. Such amount shall be part of, and not in
                             addition to, the "Aggregate for all Claims" amount stated in ITEM
                             4.B. of the Declarations.

                     (d)     The "Aggregate for all Claims" amount stated in ITEM 4.B. of the
                             Declarations will be the Underwriter's maximum Limit of Liability
                             for all Loss resulting from all Claims or Related Claims for
                             which this Policy provides coverage under INSURING AGREEMENT
                             (B).

              (3)    Insuring Agreement (C) - Employee Benefit Liability

                     (a)     The "Each Claim" amount stated in ITEM 4.C. of the Declarations
                             will be the Underwriter's maximum Limit of Liability for all Loss
                             resulting from each Claim or Related Claims for which this
                             Policy provides coverage under INSURING AGREEMENT (C).

                     (b)     The "Aggregate for all Claims" amount stated in ITEM 4.C. of the
                             Declarations will be the Underwriter's maximum Limit of Liability
                             for all Loss resulting from all Claims or Related Claims for
                             which this Policy provides coverage under INSURING AGREEMENT
                             (C).

              ( 4)   Insuring Agreement (D) - Evacuation Expense

                     (a)     The "Each Evacuation" amount stated in ITEM 4.D. of the
                             Declarations will be the Underwriter's maximum Limit of Liability
                             for all Loss resulting from each Evacuation for which this Policy
                             provides coverage under INSURING AGREEMENT (D).

                     (b)     The "Aggregate for all Evacuations" amount stated in ITEM 4.D. of
                             the Declarations will be the Underwriter's maximum Limit of
                             Liability for all Loss resulting from all Evacuations for which this
                             Policy provides coverage under INSURING AGREEMENT (D).

              (5)    Insuring Agreement (El - Legal/Media Expense

                     (a)     The "Each Legal Defense Proceeding" amount stated in ITEM 4.E.
                             of the Declarations will be the Underwriter's maximum Limit of
                             Liability for all Loss resulting from each Legal Defense
                             Proceeding for which this Policy provides coverage under
                             INSURING AGREEMENT (E).

                     (b)     The "Aggregate for all Legal Defense Proceedings" amount stated
                             in ITEM 4.E. of the Declarations will be the Underwriter's
                             maximum Limit of Liability for all Loss resulting from all Legal
                             Defense Proceedings for which this Policy provides coverage
                             under INSURING AGREEMENT (E).

             (6)     Insuring Agreement (G) - Sexual Misconduct/Physical Abuse Liability

                     (a)    The "Each Claim" amount stated in ITEM 4.F. of the Declarations
                            will be the Underwriter's maximum Limit of Liability for all Loss



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                            and Defense Expenses resulting from each Claim or Related
                            Claims for which this Policy provides coverage under INSURING
                            AGREEMENT (G).

                    (b)     The "Aggregate for all Claims" amount stated in ITEM 4.F. of the
                            Declarations will be the Underwriter's maximum Limit of Liability
                            for all Loss and Defense Expenses resulting from all Claims or
                            Related Claims for which this Policy provides coverage under
                            INSURING AGREEMENT (G).

              (7)   Each Limit of Liability described in paragraphs (1) through (6) above shall
                    apply regardless of the time of payment by the Underwriter, the number of
                    persons or entities included within the definition of Insured, or the
                    number of claimants, and regardless of whether such Claim or Related
                    Claims is/are first made during the Policy Period or during any Extended
                    Reporting Period.

              (8)   (a)    The Insured shall be responsible for payment in full of the
                           applicable deductible or self-insured retention stated in ITEM 4 of
                           the Declarations, and the Underwriter's obligation to pay Loss or
                           Defense Expenses under this Policy shall be excess of such
                           deductible or self-insured retention; provided, that no deductible
                           or self-insured retention shall apply to (i) Claims for Property
                           Damage resulting from any fire caused by the Insured's
                           negligence and occurring on premises rented to the Insured or
                           temporarily occupied by the Insured with the permission of the
                           owner of such premises or (ii) Claims for Property Damage
                           (other than damage caused by fire) to premises, including the
                           contents of such premises, rented to the Insured for a period of
                           seven (7) or fewer consecutive days, and which are subject to the
                           "Damage to Rented Premises" Limit of Liability set forth in ITEM
                           4.B. of the Declarations. The applicable deductible or self-insured
                           retention shall apply to each Claim or Related Claims (subject to
                           the applicable aggregate deductible or self-insured retention
                           amount, if any), and shall be eroded (or exhausted) by the
                           Insured's payment of Loss or Defense Expenses. The
                           Underwriter shall have no obligation whatsoever, either to the
                           Insured or any other person or entity, to pay all or any portion of
                           the applicable deductible or self-insured retention on behalf of the
                           Insured. The Underwriter shall, however, at its sole discretion,
                           have the right and option to do so, in which event the Insured
                           will repay the Underwriter any amounts so paid.

                    (b)    If a "Deductible" is selected under any Insuring Agreement in
                           ITEM 4 of the Declarations, any amounts paid within such
                           deductible will reduce, and may exhaust, the applicable Limits of
                           Liability for such Insuring Agreement.

                           If a "Self-Insured Retention" is selected under any Insuring
                           Agreement in ITEM 4 of the Declarations, any amounts paid
                           within such self-insured retention will not reduce the applicable
                           Limits of Liability for such Insuring Agreement.




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               (9)    All Insureds under this Policy share the Limits of Liability. In no event will
                      the number of Insureds involved in a Claim or Related Claims increase
                      the applicable Limit of Liability.

               (10)   In the event a Claim under this Policy involves more than one (1) Insuring
                      Agreement hereunder, it is understood and agreed that only one (1)
                      deductible or self-insured retention and one (1) Limit of Liability will apply
                      to such Claim, which shall be the highest applicable "Each Claim" Limit of
                      Liability stated in ITEM 4 of the Declarations and the deductible or self-
                      insured retention corresponding to such Limit of Liability.

               (11)   In the event any Claim covered under INSURING AGREEMENT (G) of this
                      Policy also contains allegations of Professional Services Wrongful
                      Acts, Bodily Injury, Property Damage, Advertising Injury or
                      Personal Injury caused by Occurrences, or Employee Benefit
                      Wrongful Acts, it is understood and agreed that onlythe deductible or
                      self-insured retention and Limits of Liability stated in ITEM 4.F. of the
                      Declarations will apply to such Claims.

               (12)   If any Claim made against the Insureds gives rise to coverage both
                      under this Policy and under any other policy or policies issued by the
                      Underwriter or any affiliate of the Underwriter, the Underwriter's and, if
                      applicable, such affiliate's maximum aggregate limit of liability under all
                      such policies for all Loss in respect of such Claim will not exceed the
                      largest single available limit of liability under any such policy, including this
                      Policy. In no event will more than one policy issued by the Underwriter
                      respond to a Claim.

(13)   Each reference to the phrase "INSURING AGREEMENT (A) or (C)" in Section IV GENERAL
       CONDITIONS (C)(l) and (C)(2) of this Policy is replaced with the phrase "INSURING
       AGREEMENT (A), (C) or (G)".

(14)   Solely with respect to INSURING AGREEMENT (G) of this Policy, Section IV GENERAL
       CONDITIONS (D)(2) of this Policy is amended to read in its entirety as follows:

              (2)     The Underwriter will have no obligation to pay Loss or Defense
                      Expenses, or continue to direct the defense of any Insured, a~er the
                      applicable Limit of Liability has been exhausted by the payment of Loss
                      and/or Defense Expenses.

(15)   Each reference to the phrase "INSURING AGREEMENT (A) and (C)" in Section IV GENERAL
       CONDITIONS (H) of this Policy is replaced with the phrase "INSURING AGREEMENT (A),
       (C) and (G)".

(16)   Section IV GENERAL CONDITIONS (M) of this Policy is amended to read in its entirety as
       follows:

              (M)     Exhaustion:

                      If the Underwriter's applicable Aggregate Limit of Liability for INSURING
                      AGREEMENTS (A), (B) or (C) of this Policy, as set forth in ITEM 4 of the
                      Declarations, is exhausted by the payment of Loss, all obligations of the
                      Underwriter under such INSURING AGREEMENT will be completely fulfilled



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                         and exhausted, including any obligation to pay Defense Expenses or to
                         continue to direct the defense of any Insured, and the Underwriter will
                         have no further obligations of any kind or nature whatsoever under such
                         INSURING AGREEMENT.

                         If the Underwriter's Aggregate Limit of Liability for INSURING AGREEMENT
                         (G) of this Policy, as set forth in ITEM 4.F. of the Declarations, is
                         exhausted by the payment of Loss and/or Defense Expenses, all
                         obligations of the Underwriter under such INSURING AGREEMENT will be
                         completely fulfilled and exhausted, including any obligation to continue to
                         direct the defense of any Insured, and the Underwriter will have no
                         further obligations of any kind or nature whatsoever under such INSURING
                         AGREEMENT.

                         If all of the Underwriter's applicable Limits of Liability are exhausted by the
                         payment of Loss and/or Defense Expenses, as applicable, the premium
                         will be fully earned, all obligations of the Underwriter under this Policy will
                         be completely fulfilled and exhausted, including any obligation to pay
                         Defense Expenses or to continue to direct the defense of any Insured,
                         and the Underwriter will have no further obligations of any kind or nature
                         whatsoever under this Policy.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                         ENDORSEMENT NO. 12

                              RATE STABILIZATION ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30. 2017. forms part of

        Policy No.       MFL-004062-0617
        Issued by        Homeland Insurance Company of New York
        Issued to        Sonic Healthcare Investments. G.P.

In consideration of the premium charged:

(1)      It is understood and agreed that, unless there is a Material Change In Exposure or a
         Material Change in Loss Picture, as such terms are defined below, the Underwriter
         agrees to renew this Policy, upon the same terms, conditions. limits and retention(s). at
         a rate that shall not exceed the rate used to determine the premium charged for this
         Policy.

(2)       For purposes of this endorsement, the term "Material Change In Exposure" means:

         (a)         any material change in the operations of the First Named Insured or any other
                     Named Insured;

         (b)         during the Policy Period, any material change in the type, character, scope or
                     extent of the services rendered by the First Named Insured or any other
                     Named Insured from the type, character, scope or extent of the services
                     described in the application(s) and any additional information submitted with
                     such application(s) by the Named Insured in connection with this Policy;

         (c)         during the Policy Period, any change in the ownership, control or management
                     of the First Named Insured or any other Named Insured; or

         (d)         the total number of tests (i) performed by the Insured. and (ii) projected to be
                     performed by the Insured, during the Policy Period is more than ten percent
                     (10%) greater than 112,386,536.

(3)      It is understood and agreed that in the event the Named Insured acquires any entity
         during the Policy Period, such acquisition shall not constitute a Material Change in
         Exposure and any entity so acquired shall be afforded the same policy rate as the rate
         used to compute the premium charged for this Policy; provided, that any entity so
         acquired is located in similar geographic areas and conducts substantially similar
         operations as the First Named Insured or any other Named Insured.

         In the event the Named Insured acquires any entity during the Policy Period that is
         not located in similar geographic areas or does not conduct substantially similar
         operations as the First Named Insured or any other Named Insured, then any such
         acquisition shall constitute a Material Change in Exposure.

(4)      For purposes of this endorsement, the term "Material Change in Loss Picture" means
         a "net incurred loss ratio" of greater than forty percent (40%) under this Policy and all
         policies issued by the Underwriter of which this Policy is a direct or indirect renewal. For
         purposes of this endorsement, "net incurred loss ratio" means the ratio of all paid and
         reserved losses (indemnity and loss adjustment expenses) under this Policy and all



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        policies issued by the Underwriter of which this Policy is a direct or indirect renewal, net
        of any deductible(s), divided by the total amount of written premium for this Policy and
        all policies issued by the Underwriter of which this Policy is a direct or indirect renewal.

(5)     In order to determine whether there has been a Material Change in Loss Picture, the
        Underwriter will use its paid and reserved losses under this Policy and all policies issued
        by the Underwriter of which this Policy is a direct or indirect renewal, valued as of April
        30, 2017.

(6)     If:

        (a)     there is a Material Change in Exposure; or

        (b)     there is a Material Change in Loss Picture,

        it is understood and agreed that the Underwriter:

        (i)     will have no obligation to renew this Policy upon its expiration with the same
                terms, conditions, limits and retention(s), or using a rate that is no higher than
                the rate used to calculate the premium charged for this Policy; and

        (ii)    in its sole discretion, may offer to renew this Policy upon terms, conditions and
                limitations, and for such premium, as the Underwriter deems appropriate.

(7)     Nothing in this endorsement is intended, nor shall it be construed, to affect the
        Underwriter's right to cancel or non-renew coverage in accordance with Section IV
        GENERAL CONDITIONS (I) of this Policy.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                          ENDORSEMENT NO. 13

 AMEND GENERAL CONDITION (E) WORLDWIDE TERRITORY ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30. 2017, forms part of

        Policy No.         MFL-004062-0617
        Issued by          Homeland Insurance Company of New York
        Issued to          Sonic Healthcare Investments, G.P.


In consideration of the premium charged:

(1)      Subject to paragraph (2) below and solely for the purposes of the coverage afforded
         under INSURING AGREEMENT (A) of this Policy, Section IV GENERAL CONDITIONS (E) of
         this Policy is amended to add the following at the end thereof:

                     (1)      Subject to the further provisions of this GENERAL CONDffiON (E), if a
                              Claim is made against an Insured outside the United States of
                              America, including its territories or possessions, Puerto Rico or Canada,
                              the Underwriter will have the right but not the duty to defend,
                              investigate or settle such Claim. If the Underwriter elects not to
                              defend, investigate or settle such Claim, the Insured shall be obligated
                              to initiate such defense and investigation as is reasonably necessary and,
                              subject to the Underwriter's prior written consent, may effect settlement.
                              The Underwriter will reimburse the Insured, up to the applicable Limit
                              of Liability, for reasonable Defense Expenses and Loss, subject to the
                              deductible or self-insured retention set forth in ITEM 4.A. of the
                              Declarations and all other provisions of this Policy.

                     (2)      All monetary terms in this Policy are in U.S. dollars. In the event the
                              Insured incurs Loss or Defense Expenses in currency other than U.S.
                              dollars, the Underwriter will reimburse the Insured for such amounts in
                              U.S. dollars at the prevailing exchange rate at the time such Loss or
                              Defense Expenses were incurred.

                     (3)      No coverage will be available under this Policy for Loss or Defense
                             Expenses for any Claim made against an Insured in any country or
                             jurisdiction which is the subject of trade or economic sanctions or
                             embargo imposed by the laws or regulations of the United States of
                             America to the extent such sanctions or embargo prohibit or limit this
                             insurance.

(2)      It is understood and agreed that the amendment to Section IV GENERAL CONDITION (E)
         set forth in paragraph (1) above does not apply to Claims made against any Named
         Insured that is domiciled outside the United States of America, including its territories or
         possessions, Puerto Rico or Canada. Accordingly, no coverage will be available under
         this Policy for Loss or Defense Expenses for any Claim made outside the United
         States of America, including its territories or possessions, Puerto Rico or Canada against
         any Named Insured that is domiciled outside the United States of America, including its
         territories or possessions, Puerto Rico or Canada.

All other terms, conditions and limitations of this Policy shall remain unchanged.



HPE-3SONIC2-06-16                                                                                 Page 1 of 1
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                                      ENDORSEMENT NO. 14

                                    DELETE ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

      Policy No.     MFL-004062-0617
      Issued by      Homeland Insurance Company of New York
      Issued to      Sonic Healthcare Investments, G.P.


In consideration of the premium charged, Endorsement No.

12    HPE-3SONIC-08-16            Rate Stabilization

to this Policy is deleted in its entirety and shall be of no force or effect from and after the
effective date of this Endorsement.


All other terms, conditions and limitations of this Policy shall remain unchanged.




HPE-00034-08-09                                    1
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                                      ENDORSEMENT NO. 15

                            RATE STABILIZATION ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

      Policy No.       MFL-004062-0617
      Issued by        Homeland Insurance Company of New York
      Issued to        Sonic Healthcare Investments, G.P.

In consideration of the premium charged:

(1)    It is understood and agreed that, unless there is a Material Change In Exposure or a
       Material Change in Loss Picture, as such terms are defined below, the Underwriter
       agrees to renew this Policy, upon the same terms, conditions, limits and retention(s), at
       a rate that shall not exceed the rate used to determine the premium charged for this
       Policy.

(2)     For purposes of this endorsement, the term "Material Change In Exposure" means:

        (a)        any material change in the operations of the First Named Insured or any other
                   Named Insured;

        (b)        during the Policy Period, any material change in the type, character, scope or
                   extent of the services rendered by the First Named Insured or any other
                   Named Insured from the type, character, scope or extent of the services
                   described in the application(s) and any additional information submitted with
                   such application(s) by the Named Insured in connection with this Policy;

        (c)        during the Policy Period, any change in the ownership, control or management
                   of the First Named Insured or any other Named Insured; or

        (d)        the total number of tests (i) performed by the Insured, and (ii) projected to be
                   performed by the Insured, during the Policy Period is more than ten percent
                   (10%) greater than 156,488,074.

(3)    It is understood and agreed that in the event the Named Insured acquires any entity
       during the Policy Period, such acquisition shall not constitute a Material Change in
       Exposure and any entity so acquired shall be afforded the same policy rate as the rate
       used to compute the premium charged for this Policy; provided, that any entity so
       acquired is located in similar geographic areas and conducts substantially similar
       operations as the First Named Insured or any other Named Insured.

       In the event the Named Insured acquires any entity during the Policy Period that is
       not located in similar geographic areas or does not conduct substantially similar
       operations as the First Named Insured or any other Named Insured, then any such
       acquisition shall constitute a Material Change in Exposure.

(4)    For purposes of this endorsement, the term "Material Change in Loss Picture" means
       a "net incurred loss ratio" of greater than forty percent (40%) under this Policy and all
       policies issued by the Underwriter of which this Policy is a direct or indirect renewal. For
       purposes of this endorsement, "net incurred loss ratio" means the ratio of all paid and
       reserved losses (indemnity and loss adjustment expenses) under this Policy and all



HPE-3SONIC-08-16                                                                               Page 1 of 2
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        policies issued by the Underwriter of which this Policy is a direct or indirect renewal, net
        of any deductible(s), divided by the total amount of written premium for this Policy and
        all policies issued by the Underwriter of which this Policy is a direct or indirect renewal.

(5)     In order to determine whether there has been a Material Change in Loss Picture, the
        Underwriter will use its paid and reserved losses under this Policy and all policies issued
        by the Underwriter of which this Policy is a direct or indirect renewal, valued as of April
        30, 2018.

(6)     If:

        (a)     there is a Material Change in Exposure; or

        (b)     there is a Material Change in Loss Picture,

        it is understood and agreed that the Underwriter:

        (i)     will have no obligation to renew this Policy upon its expiration with the same
                terms, conditions, limits and retention(s), or using a rate that is no higher than
                the rate used to calculate the premium charged for this Policy; and

        (ii)    in its sole discretion, may offer to renew this Policy upon terms, conditions and
                limitations, and for such premium, as the Underwriter deems appropriate.

(7)     Nothing in this endorsement is intended, nor shall it be construed, to affect the
        Underwriter's right to cancel or non-renew coverage in accordance with Section IV
        GENERAL CONDITIONS (I) of this Policy.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                             ENDORSEMENT NO. 16

                                            DELETE ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on July 19. 2017                 , forms part of:

      Policy No.    MFL-004062-0617
      Issued by     Homeland Insurance Company of New York
      Issued to     Sonic Healthcare Investments, G.P.



In consideration of the premium charged, Endorsement No.

4      HPE-00064-07-11                  Notice of Cancellation to Scheduled Party

to this Policy is deleted in its entirety and shall be of no force or effect from and after the effective date of this
Endorsement.


All other terms, conditions and limitations of this Policy shall remain unchanged.




HPE-00034-08-09                                                                                            Page 1 of 1
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                                 ENDORSEMENT NO. 17

                 NOTICE OF CANCELLATION TO SCHEDULED PARTY ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on July 19, 2017                    , forms part of:

         Policy No.        MFL-004062-0617
         Issued by         Homeland Insurance Company of New York
         Issued to         Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

(1)           If the Underwriter cancels this Policy for any reason other than non-payment of premium, the
              Underwriter will endeavor to provide notice of such cancellation to the individual(s) or entity(ies)
              identified in the schedule below (each a "Scheduled Party''), at the address set forth next to the
              Scheduled Party's name, when notice of cancellation is sent to the First Named Insured. In no event
              will the timing of notice to a Scheduled Party exceed the timing of notice to the First Named Insured.
              It is understood and agreed that notice of cancellation to a Scheduled Party is provided solely as a
              courtesy for the convenience of the First Named Insured and does not constitute a prerequisite to
              effective policy cancellation.

(2)           Failure to provide notice of cancellation to a Scheduled Party shall impose no liability of any kind or
              nature whatsoever on the Underwriter and shall not amend or extend the effective date of policy
              cancellation or invalidate the cancellation.

 Scheduled Party:                                                 Scheduled Party Address:

 State of Hawaii, Department of Public                            919 Ala Moana Boulevard, Honolulu,
      Safety, ASO-Purchasing and Contracts                          Hawaii 96814
      Staff
 County of Kern Public Health Services                            1800 Mount Vernon Avenue, 3rd Floor,
      Department                                                    Bakersfield, CA 93306-3302
 MediGold, Provider Credentialing                                 6150 East Broad Street, Columbus, Ohio
                                                                    43213
 City of Dallas, Business Development &                           c/o CertFocus, PO Box 140528, Kansas
      Procurement Services, Project Number:                         City, MO 64114
      274201



All other terms, conditions and limitations of the Policy shall remain unchanged.




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                                             ENDORSEMENT NO. 18

                                            DELETE ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on June 30 2017                  , forms part of:

      Policy No.    MFL-004062-0617
      Issued by     Homeland Insurance Company of New York
      Issued to     Sonic Healthcare Investments, G.P.



In consideration of the premium charged, Endorsement No.


5       HPE-30017A-02-10                Schedule of Insured Physicians and Locum Tenens
1       HPE-00023-03-13                 Amend Prior Knowledge Exclusion (D)(l)

to this Policy is deleted in its entirety and shall be of no force or effect from and after the effective date of this
Endorsement.


All other terms, conditions and limitations of this Policy shall remain unchanged.




HPE-00034-08-09                                                                                            Page 1 of 1
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                                             ENDORSEMENT NO. 19

                AMEND PRIOR KNOWLEDGE EXCLUSION (D)(1) ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30 2017                , forms part of

      Policy No.       MFL-004062-0617
      Issued by        Homeland Insurance Company of New York
      Issued to        Sonic Healthcare Investments, G.P.



In consideration of the premium charged, Section III EXCLUSIONS (D)(l) of this Policy is amended to read in its
entirety as follows:

        (1)        act, error, omission or Wrongful Act if, on or before the Inception Date set forth in ITEM 2 of
                   the Declarations, the

                   Risk Management Dept or Legal Dept or any Executive

                   of the Named Insured knew or reasonably could have foreseen that such act, error, omission,
                   or Wrongful Act might result in a Claim.

                   If, however, this Policy is a renewal of one or more policies previously issued by the Underwriter
                   to the First Named Insured, and the coverage provided by the Underwriter to the First
                   Named Insured was in effect, without interruption, for the entire time between the inception
                   date of the first such other policy and the Inception Date of this Policy, the reference in this
                   EXCLUSION (D)(l) to the Inception Date will be deemed to refer instead to the inception date of
                   the first policy under which the Underwriter began to provide the First Named Insured with
                   the continuous and uninterrupted coverage of which this Policy is a renewal;


All other terms, conditions and limitations of this Policy shall remain unchanged.




HPE-00023-03-13                                                                                         Page 1 of 1
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                                      ENDORSEMENT NO. 20

  SCHEDULE OF INSURED PHYSICIANS AND LOCUM TENENS ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30. 2017. forms part of

      Policy No.       MFL-004062-0617
      Issued by        Homeland Insurance Company of New York
      Issued to        Sonic Healthcare Investments, G.P.

In consideration of the premium charged:

(1)    Notwithstanding anything to the contrary contained in this Policy or any endorsement
       thereto, the term "Insured," as defined in Section II DEFINITIONS of this Policy, is
       amended to include the physician(s) scheduled below, but only while rendering
       Professional Services on behalf of. and within the scope and capacity of his or her
       duties for, the Named Insured.

        SCHEDULE

        Name                             Retroactive Date Specialty
       I On File with Company            I Date of Hire            I Physicians
(2)    The term "Insured," as defined in Section II DEFINITIONS of this Policy, is amended to
       include any Locum Tenens, but only when such Locum Tenens is acting within the
       capacity and scope of his or her duties as such. Coverage for any Locum Tenens shall
       only extend for up to sixty (60) days during the Policy Period per Insured physician
       for whom such Locum Tenens is serving as a substitute.

(3)    Section II DEFINITIONS of this Policy is amended to include the following term:

                   "Locum Tenens" means any physician who is temporarily serving as a
                   substitute physician for an Insured physician scheduled in paragraph (1) above
                   while such Insured physician is temporarily absent from professional practice.

(4)    No coverage will be available under this Policy for Loss or Defense Expenses for any
       Claim based upon, arising out of. directly or indirectly resulting from, in consequence of,
       or in any way involving any actual or alleged Professional Services Wrongful Act
       committed or allegedly committed by any Insured physician scheduled in paragraph (1)
       above:

       (a)         prior to the Retroactive Date set forth opposite such Insured physician's name;
                   or

       (b)         on or after (i) the date such Insured physician ceased to be an employee of the
                   Named Insured or (ii) the termination date of the contract or agreement under
                   which such Insured physician was rendering Professional Services on behalf
                   of the Named Insured.


(5)    It is understood and agreed that the Insured physicians scheduled in paragraph (1)
       above and any Locum Tenens share in the applicable Limits of Liability set forth in
       ITEM 4 of the Declarations.



HPE-30017 A-02-10                                  I
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All other terms, conditions and limitations of this Policy shall remain unchanged.




HPE-3001 ?A-02-10                                2
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                                             ENDORSEMENT NO. 21

                                           DELETE ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on June 30 2017                  , forms part of:

      Policy No.    MFL-004062-0617
      Issued by     Homeland Insurance Company of New York
      Issued to     Sonic Healthcare Investments, G.P.



In consideration of the premium charged, Endorsement No.


3      HPE-00063-04-11                  Additional Named Insured - Related to Original Named Insured

to this Policy is deleted in its entirety and shall be of no force or effect from and after the effective date of this
Endorsement.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                            ENDORSEMENT NO. 22

      ADDITIONAL NAMED INSURED - RELATED TO ORIGINAL NAMED INSURED
                             ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30, 2017               , forms part of:

      Policy No.       MFL-004062-0617
      Issued by        Homeland Insurance Company of New York
      Issued to        Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

(1)    The term "Named Insured," as defined in Section II DEFINITIONS of this Policy, is amended to include
       the entity(ies) scheduled below (each an "Additional Named Insured''), but solely:

        (a)        with respect to liability imposed or sought to be imposed on such Additional Named Insured that
                   is based on or arises out of acts, errors or omissions committed or allegedly committed by such
                   Additional Named Insured when and to the extent that, such Additional Named Insured is acting
                   on behalf of, and within the capacity and scope of its duties for

                   Sonic Healthcare Investments, G.P.

                   ; and

        (b)        for Wrongful Acts happening on or after the Retroactive Date identified for each Additional
                   Named Insured in the schedule below and Occurrences happening on or after the effective date
                   of this endorsement:

        SCHEDULE


        Additional Named Insured:                                                 Retroactive Date:
        Sonic Healthcare USA, Inc                                                 February 05, 2007
        Sunrise Medical Laboratories, Inc                                         March 05, 1995
        Clinical Pathology Laboratories, Inc                                      October 01, 2000
        Mullins Pathology & Cytology Laboratory,                                  April 30, 2007
         Inc
        Woodbury Clincal Pathology, Inc                                           January 05, 1992
        Memphis Pathology Laboratory                                              January 07, 2007
        Clinical Laboratory Services, Inc                                         January 07, 2007
        Fairfax Medical Laboratories, Inc                                         June 19, 2006
        Pathology Laboratories, Inc dba Lima                                      March 01, 1987
          Pathology Laboratories
        Cognoscenti Health Institute, LLC                                         September 01, 2006
        DRL Labs, Ltd. Completely merged into                                     March 28, 2003
          Clinical Pathology as of 03/28/2003
        American Esoteric Laboratories, Inc.                                      TBD
          Closed Lab in March 2007 - Continues


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        Additional Named Insured:                                                   Retroactive Date:
          as a holding company
        Piedmont Joint venture Laboratory, Inc                                      August 05, 2003
        American Clinical Services                                                  February 01, 2004
        Clinical Pathology Laboratories                                             March 29, 2010
          Southwest, Inc
        Clinical Laboratories of Hawaii, LLP                                        August 01, 1985
        Pan Pacific Pathologists, LLC                                               August 01, 1985
        East Side Clinical Laboratory, Inc                                          June 30, 1990
        Physician's Automated Laboratory, Inc.                                      June 01, 1989
        CBLPath Holdings Corp                                                       May 01, 2004
        CBLPath Inc                                                                 July 01, 2004
        CBLPath Transport, Inc.                                                     January 01, 2007
        Sonic Healthcare Limited                                                    February 05, 2007
        Douglass Hanly Moir Pathology Pty                                           February 05, 2007
          Limited
        Sonic Healthcare Internatoinal Pty Ltd                                      February 05, 2007
        Sonic Healthcare Pathology Pty Ltd                                          February 05, 2007
        Sonic Reference Laboratory Inc                                              December 01, 2014
        Sonic Healthcare (Ireland) Limited (term                                    August 01, 2010
          date 06.30.2013)
        Medlab Pathology (term date 06.30.2013)                                     August 01, 2010
        Clinical Pathology Laboratories,                                            March 29, 2010
          Southeast, Inc
        Memphis Pathology Holdings, LLC                                             September 23, 2016
        BMHSI/AEL Microbiology Laboratory, GP                                       October 26, 2016
        Sonic Hawaii Holdings, Inc.                                                 July 14, 2008
        Sonic USA Holdings, Inc.                                                    July 14, 2008
        MPL Holdings, Inc.                                                          January 08, 2007
        AEL of Memphis, LLC                                                         January 08, 2007
        Sonic Pathology Group, Inc.                                                 August 12, 2015
        Connecticut Laboratory Partnership                                          December 22, 2016


(2)     It is understood and agreed that the Additional Named Insured(s) share in the applicable Limits of
        Liability set forth in ITEM 4 of the Declarations.

(3)     ITEM 3 of the Declarations shall be deemed amended to the extent necessary to effect the purpose and
        intent of this endorsement.


All other terms, conditions and limitations of the Policy shall remain unchanged.




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                                             ENDORSEMENT NO. 23

                                           DELETE ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on February 13, 2018             , forms part of:

      Policy No.    MFL-004062-0617
      Issued by     Homeland Insurance Company of New York
      Issued to     Sonic Healthcare Investments, G.P.



In consideration of the premium charged, Endorsement No.


22      HPE-00063-04-11                 Additional Named Insured - Related to Original Named Insured

to this Policy is deleted in its entirety and shall be of no force or effect from and after the effective date of this
Endorsement.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                            ENDORSEMENT NO. 24

      ADDITIONAL NAMED INSURED - RELATED TO ORIGINAL NAMED INSURED
                             ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on February 13, 2018           , forms part of:

      Policy No.       MFL-004062-0617
      Issued by        Homeland Insurance Company of New York
      Issued to        Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

(1)    The term "Named Insured," as defined in Section II DEFINITIONS of this Policy, is amended to include
       the entity(ies) scheduled below (each an "Additional Named Insured"), but solely:

        (a)        with respect to liability imposed or sought to be imposed on such Additional Named Insured that
                   is based on or arises out of acts, errors or omissions committed or allegedly committed by such
                   Additional Named Insured when and to the extent that, such Additional Named Insured is acting
                   on behalf of, and within the capacity and scope of its duties for

                   Sonic Healthcare Investments, G.P.

                   ; and

        (b)        for Wrongful Acts happening on or after the Retroactive Date identified for each Additional
                   Named Insured in the schedule below and Occurrences happening on or after the effective date
                   of this endorsement:

        SCHEDULE

        Additional Named Insured:                                                 Retroactive Date:
        Sonic Healthcare USA, Inc                                                 February 05, 2007
        Sunrise Medical Laboratories, Inc                                         March 05, 1995
        Clinical Pathology Laboratories, Inc                                      October 01, 2000
        Mullins Pathology & Cytology Laboratory,                                  April 30, 2007
          Inc
        Woodbury Clincal Pathology, Inc                                           January 05, 1992
        Memphis Pathology Laboratory                                              January 07, 2007
        Clinical Laboratory Services, Inc                                         January 07, 2007
        Fairfax Medical Laboratories, Inc                                         June 19, 2006
        Pathology Laboratories, Inc dba Lima                                      March 01, 1987
          Pathology Laboratories
        Cognoscenti Health Institute, LLC                                         September 01, 2006
        DRL Labs, Ltd. Completely merged into                                     March 28, 2003
          Clinical Pathology as of 03/28/2003
        American Esoteric Laboratories, Inc.                                      TBD
         Closed Lab in March 2007 - Continues
          as a holding company


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        Additional Named Insured:                                                   Retroactive Date:
        Piedmont Joint venture Laboratory, Inc                                      August 05, 2003
        American Clinical Services                                                  February 01, 2004
        Clinical Pathology Laboratories                                             March 29, 2010
          Southwest, Inc
        Clinical Laboratories of Hawaii, LLP                                        August 01, 1985
        Pan Pacific Pathologists, LLC                                               August 01, 1985
        East Side Clinical Laboratory, Inc                                          June 30, 1990
        Physician's Automated Laboratory, Inc.                                      June 01, 1989
        CBLPath Holdings Corp                                                       May 01, 2004
        CBLPath Inc                                                                 July 01, 2004
        CBLPath Transport, Inc.                                                     January 01, 2007
        Sonic Healthcare Limited                                                    February 05, 2007
        Douglass Hanly Moir Pathology Pty                                           February 05, 2007
          Limited
        Sonic Healthcare Internatoinal Pty Ltd                                      February 05, 2007
        Sonic Healthcare Pathology Pty Ltd                                          February 05, 2007
        Sonic Reference Laboratory Inc                                              December 01, 2014
        Sonic Healthcare (Ireland) Limited (term                                    August 01, 2010
          date 06.30.2013)
        Medlab Pathology (term date 06.30.2013)                                     August 01, 2010
        Clinical Pathology Laboratories,                                            March 29, 2010
          Southeast, Inc
        Memphis Pathology Holdings, LLC                                             September 23, 2016
        BMHSI/AEL Microbiology Laboratory, GP                                       October 26, 2016
        Sonic Hawaii Holdings, Inc.                                                 July 14, 2008
        Sonic USA Holdings, Inc.                                                    July 14, 2008
        MPL Holdings, Inc.                                                          January 08, 2007
        AEL of Memphis, LLC                                                         January 08, 2007
        Sonic Pathology Group, Inc.                                                 August 12, 2015
        Connecticut Laboratory Partnership, LLC                                     December 22, 2016

(2)     It is understood and agreed that the Additional Named Insured(s) share in the applicable Limits of
        Liability set forth in ITEM 4 of the Declarations.

(3)     ITEM 3 of the Declarations shall be deemed amended to the extent necessary to effect the purpose and
        intent of this endorsement.


All other terms, conditions and limitations of the Policy shall remain unchanged.




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                                         ENDORSEMENT NO. 25

      NON-MEDICAL ERRORS AND OMISSIONS WITH RETROACTIVE DATE AND
              DEFENSE WITHIN LIMITS SUBLIMIT ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on March 13. 2018, forms part of

        Policy No.         MFL-004062-0617
        Issued by          Homeland Insurance Company of New York
        Issued to          Sonic Healthcare Investments, G.P.

In consideration of the premium charged of $1.045, solely with respect to the coverage afforded
under Section I INSURING AGREEMENTS (A) of this Policy:

(1)      The term "Professional Services," as defined in Section II DEFINITIONS (KK) of this
         Policy, is amended to include the following at the end thereof:

                     (6)      Laboratory-based testing of medical marijuana and manufactured
                              medical marijuana products for content. contamination. and consistency
                              pursuant to HRS 329D-8 but only when performed by AEOS Labs, Inc.,
                              which services are provided by the Insured on or after 03.13.2018 to
                              others for a fee and require such Insured's specialized training,
                              knowledge and skill.

(2)       No coverage will be available under this Policy for Loss or Defense Expenses for any
          Claim based upon, arising out of, directly or indirectly resulting from, in consequence of,
          or in any way involving any:

          (a)        Professional Services Wrongful Act committed or allegedly committed by an
                     Insured prior to 03.13.2018 in the rendering of, or failure to render,
                     Professional Services, as such term is defined in Section II DEFINITIONS
                     (KK)(6) of this Policy;

          (b)        actual or alleged legal services provided by an Insured as a lawyer or a notary
                     public;

          (c)        actual or alleged act, error or omission involving any architectural or engineering
                     services;

          (d)        fee disputes;

          (e)        actual or alleged act, error, omission or assumption committed or allegedly
                     committed by an Insured in the performance of, or failure to perform, actuarial
                     services;

          (f)        actual or alleged inaccurate, inadequate, or incomplete description of the price of
                     goods, products or services; or the Insured's cost guarantees, cost
                     representations, contract price, or estimates of probable costs or cost estimates
                     being exceeded;

          (g)        future royalties or future profits, restitution, or disgorgement of profits by any
                     Insured; or



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        (h)     return or offset of fees, charges, or commissions for goods or services already
                provided or contracted to be provided.

(3)     Section III EXCLUSIONS (D)(15) of this Policy is amended to read in its entirety as
        follows:

                (15)     liability of any Insured for Managed Care Services; except this
                         EXCLUSION (D)(15) will not apply to liability of an Insured for
                         Professional Services. For purposes of this EXCLUSION (D)(15), the
                         term "Professional Services" shall not include the definition ascribed
                         to it in Section II DEFINITIONS (KK)(6) of this Policy;

(4)     In the event the Insured performs services in connection with any clinical trial, it is
        understood and agreed that, subject to the terms, conditions and limitations of this
        Policy, the coverage afforded under this Policy, if any, shall apply to any such clinical trial
        only if such clinical trial is performed in accordance with the United States Food and Drug
        Administration (FDA) protocols.

(5)      Notwithstanding anything to the contrary contained in this Policy, it is understood and
        agreed that, for the purposes of the coverage that may be provided under this
        endorsement, Defense Expenses are part of, and not in addition to, the Limits of
        Liability set forth in paragraph (6) below, and payment of Defense Expenses by the
        Underwriter will reduce, and may exhaust, such Limits of Liability.

(6)     Solely with respect to Claims for Professional Services Wrongful Acts committed or
        allegedly committed by an Insured in the rendering of, or failure to render,
        Professional Services, as such term is defined in Section II DEFINITIONS (KK)(6) of
        this Policy, it is understood and agreed that the Underwriter's maximum Limit of Liability
        for all Loss and Defense Expenses resulting from each such Claim shall be
        $1.000.000, and the Underwriter's maximum aggregate Limit of Liability for all Loss and
        Defense Expenses resulting from all such Claims shall be $1.000.000. Such Limits of
        Liability shall be part of, and not in addition to, the "Aggregate for all Claims" Limit of
        Liability for INSURING AGREEMENT (A) of this Policy, as set forth in ITEM 4.A. of the
        Declarations.

(7)     This Policy shall be deemed amended to the extent necessary to effect the purpose and
        intent of this endorsement.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                            ENDORSEMENT NO. 26

            POLICY CHANGE ENDORSEMENT FOR ADMINISTRATIVE CHANGES

This Endorsement, which is effective at 12:01 a.m. on April 09. 2018              , forms part of:

      Policy No.          MFL-004062-0617
      Issued by           Homeland Insurance Company of New York
      Issued to           Sonic Healthcare Investments, G.P.



In consideration of the premium charged, the following item(s) on the Declarations to this Policy:


  [    l    Policy Number

  [    l    ITEM 1. First Named Insured

  [ X]      ITEM 1. First Named Insured's Principal Address

  [' l      ITEM 2(a) Inception Date

  [ , l     ITEM 2(b) Expiration Date

            ITEM 9. Policy Form and Endorsements Attached at
  [    l
            Issuance


is/are amended as follows:

12357-A Riata Trace Parkway, Suite 210
Austin, Texas 78727

Premium change for the above amendment(s):

[ X] No change       [   ] Additional Premium $ ~o______                    [   ] Return Premium$    ~o______

All ,other terms, conditions and limitations of this Policy shall remain unchanged.




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